                                                                  Case 5:21-cv-09955-BLF      Document 151      Filed 02/17/24    Page 1 of 69



                                                              1 Edwin Aiwazian (Cal. State Bar No 232943)
                                                                       edwin@calljustice.com
                                                              2 Arby Aiwazian (Cal. State Bar No. 269827)
                                                                       arby@calljustice.com
                                                              3 Joanna Ghosh (Cal. State Bar No. 272479)
                                                                       joanna@calljustice.com
                                                              4 Selena Matavosian (Cal. State Bar No. 348044)
                                                                       selena@calljustice.com
                                                              5 LAWYERS for JUSTICE, PC
                                                                410 West Arden Avenue, Suite 203
                                                              6 Glendale, California 91203
                                                                Tel: (818) 265-1020 / Fax: (818) 265-1021
                                                              7
                                                                Attorneys for Plaintiff
                                                              8
                                                              9                         UNITED STATES DISTRICT COURT
                                                             10                     NORTHERN DISTRICT OF CALIFORNIA
                                                             11
LAWYERS for JUSTICE, PC
                          410 West Arden Avenue, Suite 203




                                                             12 NELSON RAMIREZ, individually, and               Case No.: 5:21-cv-09955-BLF
                              Glendale, California 91203




                                                                on behalf of other members of the
                                                             13 general public similarly situated and on        Honorable Beth L. Freeman
                                                                behalf of other aggrieved employees
                                                             14 pursuant to the California Private              FOURTH AMENDED CLASS
                                                                Attorneys General Act;                          ACTION COMPLAINT FOR
                                                             15                                                 DAMAGES AND ENFORCEMENT
                                                                             Plaintiff,                         UNDER THE PRIVATE
                                                             16                                                 ATTORNEYS GENERAL ACT,
                                                                       vs.                                      CAL. LABOR CODE §2698 ET SEQ.
                                                             17
                                                                HV GLOBAL MANAGEMENT                            (1) Violation of California Labor
                                                             18 CORPORATION, an unknown                             Code §§ 510 and 1198
                                                                business entity; and DOES 1 through                 (Unpaid Overtime);
                                                             19 100, inclusive,                                 (2) Violation of California Labor
                                                                                                                    Code §§ 226.7 and 512(a)
                                                             20                Defendants.                          (Unpaid Meal Period
                                                                                                                    Premiums);
                                                             21                                                 (3) Violation of California Labor
                                                                                                                    Code § 226.7 (Unpaid Rest
                                                             22                                                     Period Premiums);
                                                                                                                (4) Violation of California Labor
                                                             23                                                     Code §§ 1194, 1197, and
                                                                                                                    1197.1 (Failure to Pay Wages,
                                                             24                                                     Including Inter Alia, Unpaid
                                                                                                                    Minimum Wages);
                                                             25                                                 (5) Violation of California Labor
                                                                                                                    Code §§ 201 and 202 (Final
                                                             26                                                     Wages Not Timely Paid);
                                                                                                                (6) Violation of California Labor
                                                             27                                                     Code § 204 (Wages Not
                                                                                                                    Timely Paid During
                                                             28                                                     Employment);
                                                                                                                (7) Violation of California Labor

                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF      Document 151         Filed 02/17/24   Page 2 of 69


                                                                                                                       Code § 226(a) (Non-
                                                              1                                                        Compliant Wage Statements);
                                                                                                                   (8) Violation of California Labor
                                                              2                                                        Code § 1174(d) (Failure to
                                                                                                                       Keep Requisite Payroll
                                                              3                                                        Records);
                                                                                                                   (9) Violation of California Labor
                                                              4                                                        Code §§ 2800 and 2802
                                                                                                                       (Unreimbursed Business
                                                              5                                                        Expenses);
                                                                                                                   (10) Violation of California
                                                              6                                                        Business & Professions Code
                                                                                                                       §§ 17200, et seq.
                                                              7                                                    (11) Violation of California Labor
                                                                                                                       Code § 2698, et seq. (Private
                                                              8                                                        Attorneys General Act of
                                                                                                                       2004)
                                                              9
                                                                                                                   DEMAND FOR JURY TRIAL
                                                             10
                                                             11         COMES NOW, Plaintiff NELSON RAMIREZ (“Plaintiff”), individually,
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                                                             12 and on behalf of other members of the general public similarly situated, and on
                              Glendale, California 91203




                                                             13 behalf of other aggrieved employees pursuant to the California Private Attorneys
                                                             14 General Act and alleges as follows:
                                                             15                         JURISDICTION AND VENUE

                                                             16         1.     This class action was originally brought in the Superior Court for the

                                                             17 County of Monterey pursuant to the California Code of Civil Procedure section
                                                             18 382.
                                                             19         2.      The United States District Court for the Northern District of

                                                             20 California has asserted jurisdiction over this action pursuant to the Class Action
                                                             21 Fairness Act of 2005, 28 U.S.C. § 1332(d).The United States District Court for the
                                                             22 Northern District of California has personal jurisdiction over Defendants because,
                                                             23 upon information and belief, Defendants are doing business in California, and at
                                                             24 all times hereinafter mentioned, an employer whose employees are engaged
                                                             25 throughout this District and throughout the State of California. Defendant
                                                             26 maintains offices, has agents, and is licensed to transact and does transact business
                                                             27 in this District.
                                                             28 ///
                                                                                                               2
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF      Document 151         Filed 02/17/24   Page 3 of 69



                                                              1                                          PARTIES
                                                              2         3.     Plaintiff NELSON RAMIREZ is an individual residing in the State of
                                                              3 California, County of Monterey.
                                                              4         4.     Defendant HV GLOBAL MANAGEMENT CORPORATION, at all
                                                              5 times herein mentioned, was and is, upon information and belief, an employer
                                                              6 whose employees are engaged throughout the State of California, including the
                                                              7 County of Monterey.
                                                              8         5.     At all relevant times, Defendant HV GLOBAL MANAGEMENT
                                                              9 CORPORATION was the “employer” of Plaintiff within the meaning of all
                                                             10 applicable California laws and statutes.
                                                             11         6.     At    all   times    herein    relevant,      Defendants    HV      GLOBAL
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                                                             12 MANAGEMENT CORPORATION and DOES 1 through 100, and each of them,
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                                                             13 were the agents, partners, joint venturers, joint employers, representatives,
                                                             14 servants, employees, successors-in-interest, co-conspirators and/or assigns, each of
                                                             15 the other, and at all times relevant hereto were acting within the course and scope
                                                             16 of their authority as such agents, partners, joint venturers, joint employers,
                                                             17 representatives, servants, employees, successors, co-conspirators and/or assigns,
                                                             18 and all acts or omissions alleged herein were duly committed with the ratification,
                                                             19 knowledge, permission, encouragement, authorization and/or consent of each
                                                             20 defendant designated as a DOE herein.
                                                             21         7.     The true names and capacities, whether corporate, associate,
                                                             22 individual or otherwise, of defendants DOES 1 through 100, inclusive, are
                                                             23 unknown to Plaintiff who sue said defendants by such fictitious names. Plaintiff
                                                             24 is informed and believes, and based on that information and belief alleges, that
                                                             25 each of the defendants designated as a DOE is legally responsible for the events
                                                             26 and happenings referred to in this Complaint, and unlawfully caused the injuries
                                                             27 and damages to Plaintiff and the other class members as alleged in this Complaint.
                                                             28 Plaintiff will seek leave of court to amend this Complaint to show the true names
                                                                                                               3
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF      Document 151         Filed 02/17/24    Page 4 of 69



                                                              1 and capacities when the same have been ascertained.
                                                              2         8.     Defendant HV GLOBAL MANAGEMENT CORPORATION and
                                                              3 DOES 1 through 100 will hereinafter collectively be referred to as “Defendants.”
                                                              4         9.     Plaintiff further alleges that Defendants directly or indirectly
                                                              5 controlled or affected the working conditions, wages, working hours, and
                                                              6 conditions of employment of Plaintiff, the other class members, and the aggrieved
                                                              7 employees so as to make each of said Defendant employers liable under the
                                                              8 statutory provisions set forth herein.
                                                              9                           CLASS ACTION ALLEGATIONS
                                                             10         10.    Plaintiff brings this action on his own behalf and on behalf of all other
                                                             11 members of the general public similarly situated, and, thus, seeks class certification
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                                                             12 under Rules 23(a) and 23(b)(3) of the Federal Rules of Civil Procedure.
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                                                             13         11.    The proposed class is defined as follows:
                                                             14                All current and former hourly-paid or non-exempt employees who
                                                             15                worked for any of the Defendants within the State of California at any
                                                             16                time during the period from November 3, 2017 to final judgment and
                                                             17                who reside in California.
                                                             18         12.    Plaintiff reserves the right to establish subclasses as appropriate.
                                                             19         13.    The class is ascertainable and there is a well-defined community of
                                                             20 interest in the litigation:
                                                             21                a.     Numerosity: The class members are so numerous that joinder of
                                                             22                       all class members is impracticable. The membership of the
                                                             23                       entire class is unknown to Plaintiff at this time; however, the
                                                             24                       class is estimated to be greater than fifty (50) individuals and
                                                             25                       the identity of such membership is readily ascertainable by
                                                             26                       inspection of Defendants’ employment records.
                                                             27                b.     Typicality: Plaintiff’s claims are typical of all other class
                                                             28                       members as demonstrated herein.               Plaintiff will fairly and
                                                                                                               4
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF      Document 151         Filed 02/17/24   Page 5 of 69



                                                              1                       adequately protect the interests of the other class members with
                                                              2                       whom he has a well-defined community of interest.
                                                              3                c.     Adequacy: Plaintiff will fairly and adequately protect the
                                                              4                       interests of each class member, with whom he has a well-
                                                              5                       defined community of interest and typicality of claims, as
                                                              6                       demonstrated herein.            Plaintiff has no interest that is
                                                              7                       antagonistic to the other class members. Plaintiff’s attorneys,
                                                              8                       the proposed class counsel, are versed in the rules governing
                                                              9                       class action discovery, certification, and settlement. Plaintiff
                                                             10                       has incurred, and during the pendency of this action will
                                                             11                       continue to incur, costs and attorneys’ fees, that have been, are,
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                                                             12                       and will be necessarily expended for the prosecution of this
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                                                             13                       action for the substantial benefit of each class member.
                                                             14                d.     Superiority: A class action is superior to other available
                                                             15                       methods for the fair and efficient adjudication of this litigation
                                                             16                       because individual joinder of all class members is impractical.
                                                             17                e.     Public Policy Considerations: Certification of this lawsuit as a
                                                             18                       class action will advance public policy objectives. Employers
                                                             19                       of this great state violate employment and labor laws every day.
                                                             20                       Current employees are often afraid to assert their rights out of
                                                             21                       fear of direct or indirect retaliation. However, class actions
                                                             22                       provide the class members who are not named in the complaint
                                                             23                       anonymity that allows for the vindication of their rights.
                                                             24          14.   There are common questions of law and fact as to the class members
                                                             25 that predominate over questions affecting only individual members. The following
                                                             26 common questions of law or fact, among others, exist as to the members of the
                                                             27 class:
                                                             28                a.     Whether Defendants’ failure to pay wages, without abatement
                                                                                                               5
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF      Document 151         Filed 02/17/24   Page 6 of 69



                                                              1                       or reduction, in accordance with the California Labor Code, was
                                                              2                       willful;
                                                              3                b.     Whether Defendants had a corporate policy and practice of
                                                              4                       failing to pay their hourly-paid or non-exempt employees within
                                                              5                       the State of California for all hours worked and missed (short,
                                                              6                       late, interrupted, and/or missed altogether) meal periods and
                                                              7                       rest breaks in violation of California law;
                                                              8                c.     Whether Defendants required Plaintiff and the other class
                                                              9                       members to work over eight (8) hours per day, over forty (40)
                                                             10                       hours, and/or over six (6) consecutive days per week and failed
                                                             11                       to pay the legally required overtime compensation to Plaintiff
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                                                             12                       and the other class members;
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                                                             13                d.     Whether Defendants failed to use the shift differential pay, non-
                                                             14                       discretionary bonuses, commissions, incentives, service charge
                                                             15                       payments, and/or other forms of non-discretionary pay to
                                                             16                       calculate the regular rate of pay used to calculate the overtime
                                                             17                       rate for the payment of overtime wages where Plaintiff and the
                                                             18                       other class members earned shift differential pay, non-
                                                             19                       discretionary bonuses, commissions, incentives, service charge
                                                             20                       payments, and/or other forms of non-discretionary pay and
                                                             21                       overtime wages in the same workweek;
                                                             22                e.     Whether Defendants failed to use the shift differential pay, non-
                                                             23                       discretionary bonuses, commissions, incentives, service charge
                                                             24                       payments, and/or other forms of non-discretionary pay to
                                                             25                       calculate the regular rate of pay used to calculate any premium
                                                             26                       payment made pursuant to California Labor Code section 226.7
                                                             27                       where Plaintiff and the other class members earned shift
                                                             28                       differential pay, non-discretionary bonuses, commissions,
                                                                                                               6
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF       Document 151        Filed 02/17/24   Page 7 of 69



                                                              1                       incentives, service charge payments, and/or other forms of non-
                                                              2                       discretionary pay and earned a premium payment pursuant to
                                                              3                       California Labor Code section 226.7 in the same workweek;
                                                              4                f.     Whether Defendants had a policy and/or practice that requires
                                                              5                       hourly paid or non-exempt employees within the State of
                                                              6                       California to remain on premises during their ten (10) minute
                                                              7                       rest breaks;
                                                              8                g.     Whether Defendants deprived Plaintiff and the other class
                                                              9                       members of meal and/or rest periods or required Plaintiff and
                                                             10                       the other class members to work during meal and/or rest periods
                                                             11                       without compensation;
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                                                             12                h.     Whether Defendants had a corporate policy and/or practice of
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                                                             13                       failing to pay their hourly, non-exempt employees for meal or
                                                             14                       rest period premiums pursuant to California Labor Code section
                                                             15                       226.7;
                                                             16                i.     Whether Defendants failed to pay minimum wages to Plaintiff
                                                             17                       and the other class members for all hours worked;
                                                             18                j.     Whether Defendants failed to pay any current or former hourly-
                                                             19                       paid or non-exempt employees who worked for Defendants
                                                             20                       within the State of California at any time during the Class
                                                             21                       Period for all minimum and overtime wages earned due to work
                                                             22                       performed off-the-clock;
                                                             23                k.     Whether Defendants failed to pay all wages due to Plaintiff and
                                                             24                       the other class members within the required time upon their
                                                             25                       discharge or resignation;
                                                             26                l.     Whether Defendants failed to timely pay all wages due to
                                                             27                       Plaintiff and the other class members during their employment,
                                                             28                       in compliance with California Labor Code section 204;
                                                                                                               7
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF      Document 151         Filed 02/17/24   Page 8 of 69



                                                              1                m.     Whether Defendants complied with wage reporting as required
                                                              2                       by the California Labor Code; including, inter alia, section 226;
                                                              3                n.     Whether Defendants kept complete and accurate payroll records
                                                              4                       as required by the California Labor Code, including, inter alia,
                                                              5                       section 1174(d);
                                                              6                o.     Whether Defendants failed to reimburse Plaintiff and the other
                                                              7                       class members for necessary business-related expenses and
                                                              8                       costs, including the purchase of clothing and shoes to meet
                                                              9                       Defendants’ dress code policy and using their personal cell
                                                             10                       phones for work-related purposes;
                                                             11                p.     Whether Defendants’ conduct was willful or reckless;
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                                                             12                q.     Whether Defendants engaged in unfair business practices in
                              Glendale, California 91203




                                                             13                       violation of California Business & Professions Code section
                                                             14                       17200, et seq.;
                                                             15                r.     The appropriate amount of damages, restitution, and/or
                                                             16                       monetary penalties resulting from Defendants’ violation of
                                                             17                       California law; and
                                                             18                s.     Whether Plaintiff and the other class members are entitled to
                                                             19                       compensatory damages pursuant to the California Labor Code.
                                                             20          15.   Class certification of the First through Eleventh causes of action is
                                                             21    appropriate pursuant to Rule 23(b)(3) because the aforementioned questions of
                                                             22    law and fact common to the class predominate over any questions affecting only
                                                             23    individual members of the class, and because a class action is superior to other
                                                             24    available methods for the fair and efficient adjudication of this litigation.
                                                             25    Defendants’ common and uniform policies and practices have unlawfully denied
                                                             26    Plaintiff and the other class members meal period premiums for all meal periods
                                                             27    that were not provided in compliance with the applicable Industrial Welfare
                                                             28    Commission (“IWC”) Order and California Labor Code, have denied them rest
                                                                                                               8
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF      Document 151         Filed 02/17/24   Page 9 of 69



                                                              1    period premiums for all rest periods that were not provided in compliance with the
                                                              2    applicable IWC Order and California Labor Code, have denied them of minimum
                                                              3    wages for all hours worked, have denied them payment of their final wages in a
                                                              4    timely manner, have denied them of accurate wage statements in compliance with
                                                              5    the California Labor Code, have denied them from getting reimbursed for
                                                              6    necessary business related expenses, and amount to unfair competition under
                                                              7    California Business and Professions Code Sections 17200 et seq. These policies
                                                              8    and practices are not individualized, and compliance with them is not voluntary.
                                                              9    The damages suffered by individual class members are relatively small compared
                                                             10    to the expense and burden of individual prosecution of this litigation. For this
                                                             11    reason, as well as the fact that class members currently employed by Defendants
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                                                             12    may fear direct or indirect retaliation from Defendants for prosecuting an action
                              Glendale, California 91203




                                                             13    against Defendants, the class members’ interests in individually controlling the
                                                             14    prosecution of this action is minimal. In addition, a class action in this forum is
                                                             15    desirable as it will eliminate the risk of inconsistent rulings regarding the legality
                                                             16    of Defendants’ policies, practices, and procedures. Managing this case as a class
                                                             17    action will not present difficulties as the parties can utilize approved methods of
                                                             18    random statistical sampling and expert testimony at trial.
                                                             19                                  PAGA ALLEGATIONS
                                                             20         16.    At all times set forth herein, the Private Attorneys General Act,
                                                             21 California Labor Code section 2698, et seq. (“PAGA”) was applicable to Plaintiff’s
                                                             22 employment by Defendants.
                                                             23         17.    At all times herein set forth, PAGA provides that any provision of law
                                                             24 under the California Labor Code that provides for a civil penalty, including unpaid
                                                             25 wages and premium wages, to be assessed and collected by the Labor and
                                                             26 Workforce Development Agency (“LWDA”) for violations of the California Labor
                                                             27 Code may, as an alternative, be recovered through a civil action brought by an
                                                             28 aggrieved employee on behalf of himself and other current or former employees
                                                                                                               9
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 10 of 69



                                                              1 pursuant to procedures outlined in California Labor Code section 2699.3.
                                                              2          18.   Pursuant to PAGA, a civil action under PAGA may be brought by an
                                                              3 “aggrieved employee,’ who is any person that was employed by Defendants and
                                                              4 the alleged violator and against whom one or more of the alleged violations was
                                                              5 committed.
                                                              6          19.   Plaintiff was employed by Defendants and the alleged violations were
                                                              7 committed against him during his time of employment and he is, therefore, an
                                                              8 aggrieved employee. Plaintiff and the other employees are “aggrieved employees”
                                                              9 as defined by California Labor Code section 2699(c) in that they are current or
                                                             10 former employees of Defendants, and one or more of the alleged violations were
                                                             11 committed against them.
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                                                             12          20.   Pursuant to California Labor Code sections 2699.3 and 2699.5, an
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                                                             13 aggrieved employee, including Plaintiff, may pursue a civil action arising under
                                                             14 PAGA after the following requirements have been met:
                                                             15                a.     The aggrieved employee shall give written notice by certified
                                                             16                       mail (hereinafter “Employee’s Notice”) to the LWDA and the
                                                             17                       employer of the specific provisions of the California Labor
                                                             18                       Code alleged to have been violated, including the facts and
                                                             19                       theories to support the alleged violations.
                                                             20                b.     The LWDA shall provide notice (hereinafter “LWDA Notice”)
                                                             21                       to the employer and the aggrieved employer by certified mail
                                                             22                       that it does not intend to investigate the alleged violation
                                                             23                       within sixty (60) calendar days of the postmark date of the
                                                             24                       Employee’s Notice. Upon receipt of the LWDA Notice, or if
                                                             25                       the LWDA Notice is not provided within sixty-five (65)
                                                             26                       calendar days of the postmark date of the Employee’s Notice,
                                                             27                       the aggrieved employee may commence a civil action pursuant
                                                             28                       to California Labor Code section 2699 to recover civil
                                                                                                              10
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24      Page 11 of 69



                                                              1                       penalties in addition to any other penalties to which the
                                                              2                       employee may be entitled.
                                                              3          21.   Plaintiff provided written notice by online submission to the LWDA
                                                              4 and by U.S. Certified Mail to Defendant HV GLOBAL MANAGEMENT
                                                              5 CORPORATION of the specific provisions of the California Labor Code alleged
                                                              6 to have been violated, including the facts and theories to support the alleged
                                                              7 violations.
                                                              8          22.   Plaintiff seeks to recover civil penalties against Defendants, in
                                                              9 addition to other remedies, for violations of California Labor Code sections 201,
                                                             10 202, 203, 204, 210, 226, 226.3, 226.7, 510, 512, 551, 552, 558, 558.1, 1174,
                                                             11 1174.5, 1182.12, 1185, 1194, 1194.2, 1197, 1198, 1199, 2698, 2699, et seq., 2800,
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                                                             12 2802, and 2802.1, and the applicable IWC Wage Order(s).
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                                                             13                               GENERAL ALLEGATIONS
                                                             14          23.   At all relevant times set forth herein, Defendants employed Plaintiff
                                                             15 and other persons as hourly-paid or non-exempt employees within the State of
                                                             16 California, including the County of Monterey.
                                                             17          24.   Defendants, jointly and severally, employed Plaintiff as an hourly-
                                                             18 paid,     non-exempt      employee,     from        approximately    September      2010    to
                                                             19 approximately September 2019, in the State of California, County of Monterey.
                                                             20          25.   Defendants hired Plaintiff into the position of full-time Server in the
                                                             21 City of Carmel in the State of California at the base rate of pay of $10.00 per hour.
                                                             22 Plaintiff’s job duties included providing quick and efficient service to all resort
                                                             23 guests, serving food and beverages, waiting on tables, providing guest services at
                                                             24 events, setting up and breaking down tables, cleaning, calculating bills and tips,
                                                             25 and responding to supervisor requests.
                                                             26 ///
                                                             27 ///
                                                             28 ///
                                                                                                               11
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 12 of 69



                                                              1          26.   Defendants hired Plaintiff and the other class members and aggrieved
                                                              2 employees, classified them as hourly-paid or non-exempt employees, and failed to
                                                              3 compensate them for all hours worked and missed, late, short, and/or interrupted
                                                              4 meal periods and/or rest breaks.
                                                              5          27.   Defendants had the authority to hire and terminate Plaintiff and the
                                                              6 other class members and aggrieved employees, to set work rules and conditions
                                                              7 governing Plaintiff’s and the other class members’ and aggrieved employees'
                                                              8 employment, and to supervise their daily employment activities.
                                                              9          28.   Defendants exercised sufficient authority over the terms and
                                                             10 conditions of Plaintiff’s and the other class members’ and aggrieved employees'
                                                             11 employment for them to be joint employers of Plaintiff and the other class members
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                                                             12 and aggrieved employees.
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                                                             13          29.   Defendants directly hired and paid wages and benefits to Plaintiff and
                                                             14 the other class members and aggrieved employees.
                                                             15          30.   Defendants continue to employ hourly-paid or non-exempt employees
                                                             16 within the State of California.
                                                             17          31.   Plaintiff and the other class members and aggrieved employees
                                                             18 worked over eight (8) hours in a day, forty (40) hours in a week, and/or six (6)
                                                             19 consecutive days in a workweek during their employment with Defendants.
                                                             20          32.   Plaintiff is informed and believes, and based thereon alleges, that
                                                             21 Defendants engaged in a pattern and practice of wage abuse against their hourly-
                                                             22 paid or non-exempt employees within the State of California. This pattern and
                                                             23 practice involved, inter alia, failing to pay them for all regular and/or overtime
                                                             24 wages earned, and missed, shortened, late, and/or interrupted meal periods and rest
                                                             25 breaks in violation of California law.
                                                             26 ///
                                                             27 ///
                                                             28 ///
                                                                                                              12
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 13 of 69



                                                              1          33.   Plaintiff is informed and believes, and based thereon alleges, that
                                                              2 Defendants knew or should have known that Plaintiff and the other class members
                                                              3 and aggrieved employees were entitled to receive certain wages for overtime
                                                              4 compensation and that they were not receiving accurate overtime compensation for
                                                              5 all overtime hours worked as a result of, inter alia, Defendants’ requiring Plaintiffs
                                                              6 and the other class members and aggrieved employees to perform work off-the-
                                                              7 clock. Defendants’ failure includes, inter alia, failing to compensate Plaintiffs and
                                                              8 the other class members and aggrieved employees for job duties performed before
                                                              9 and/or after their scheduled shifts such as tasks related to assisting resort guests,
                                                             10 responding to supervisor requests and demands, donning and doffing uniforms, and
                                                             11 accessing employee lockers before and after clocking in and out for their scheduled
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                                                             12 shifts, and during meal period.
                              Glendale, California 91203




                                                             13          34.   Plaintiff is informed and believes, and based thereon alleges, that
                                                             14 Defendants failed to use the shift differential pay, non-discretionary bonuses,
                                                             15 commissions, incentives, service charge payments, and/or other forms of non-
                                                             16 discretionary pay to calculate the regular rate of pay used to calculate the overtime
                                                             17 rate for the payment of overtime wages where Plaintiff and the other class members
                                                             18 and aggrieved employees earned shift differential pay, non-discretionary bonuses,
                                                             19 commissions, incentives, service charge payments, and/or other forms of non-
                                                             20 discretionary pay and overtime wages in the same workweek.
                                                             21          35.   Plaintiff is informed and believes, and based thereon alleges, that
                                                             22 Defendants failed to use the shift differential pay, non-discretionary bonuses,
                                                             23 commissions, incentives, service charge payments, and/or other forms of non-
                                                             24 discretionary pay to calculate the regular rate of pay used to calculate any premium
                                                             25 payment made pursuant to California Labor Code section 226.7 where Plaintiff and
                                                             26 the other class members and aggrieved employees earned shift differential pay, non-
                                                             27 discretionary bonuses, commissions, incentives, service charge payments, and/or
                                                             28 other forms of non-discretionary pay and earned a premium payment pursuant to
                                                                                                              13
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 14 of 69



                                                              1 California Labor Code section 226.7 in the same workweek.
                                                              2          36.   Plaintiff is informed and believes, and based thereon alleges, that
                                                              3 Defendants’ policies and practices, including the Employee Handbook, required
                                                              4 Plaintiff and the other class members and aggrieved employees to wait to clock in
                                                              5 until they were “in full uniform and ready to begin work” at their designated clock-
                                                              6 in stations before they were allowed to begin recording their time. At the same
                                                              7 time, Defendants’ policy, practice, and Attendance Disciplinary Notice form
                                                              8 required reprimand of Plaintiff and the other class members and aggrieved
                                                              9 employees for clocking in more than three (3) minutes after the start of their
                                                             10 scheduled shifts. As a result, Plaintiff and the other class members and aggrieved
                                                             11 employees were required to arrive at work prior to their scheduled start times to
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                                                             12 get in full uniform and become “work ready” before they were allowed to clock in.
                              Glendale, California 91203




                                                             13          37.   Defendants also had a supplemental loose-leaf meal and rest break
                                                             14 policy, which applied to all hourly-paid employees throughout the relevant time
                                                             15 period.
                                                             16          38.   Plaintiff is informed and believes, and based thereon alleges, that
                                                             17 Defendants failed to provide Plaintiff and the other class members and aggrieved
                                                             18 employees all required rest and meal periods during the relevant time period as
                                                             19 required under the Industrial Welfare Commission Wage Orders and thus they are
                                                             20 entitled to any and all applicable penalties.
                                                             21          39.   Plaintiff is informed and believes, and based thereon alleges, that
                                                             22 Defendants’ policies and practices, including their Employee Performance
                                                             23 Reviews and Employee Handbook, required employees to prioritize rendering
                                                             24 quick and efficient service to all resort guests, at all times while on Defendants’
                                                             25 premises. These uniform policies and practices required other class members and
                                                             26 aggrieved employees to be available to provide service and/or assistance to any
                                                             27 guest they may encounter from the moment they stepped onto the property at the
                                                             28 beginning of their shifts to the moment they stepped off the property at the end of
                                                                                                              14
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 15 of 69



                                                              1 their shifts.
                                                              2          40.    Plaintiff is informed and believes that Defendants had a meal break
                                                              3 policy, which applied to all other class members and aggrieved employees, which
                                                              4 unlawfully permitted managers to shorten other class members’ and aggrieved
                                                              5 employees’ meal breaks, and which unlawfully allowed employees to voluntarily
                                                              6 elect not to take any or all of their 30-minute meal breaks. These uniform policies
                                                              7 and practices also fail to provide lawful timing requirements for second meal
                                                              8 breaks.
                                                              9          41.    Plaintiff is further informed and believes that Defendants failed to
                                                             10 provide meal periods that were truly “off-duty” during the relevant time period, as,
                                                             11 at all times while on their meal breaks, employees were expected to be available
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                                                             12 and prepared to come back from these breaks early at a moment’s notice at the
                              Glendale, California 91203




                                                             13 instruction of their supervisors. As a result, Defendants’ policy requiring class
                                                             14 members and aggrieved employees to be available “at all times while in the resort”
                                                             15 and their policy permitting managers to shorten meal breaks intentionally and
                                                             16 directly undermined their formal policy providing meal breaks by pressuring
                                                             17 employees to perform their duties in ways that prevented employees from taking
                                                             18 30-minute duty-free, uninterrupted meal breaks.
                                                             19          42.    Plaintiff is informed and believes that Defendants had a meal break
                                                             20 policy, which applied to all other class members and aggrieved employees, and
                                                             21 which unlawfully provided that employees who work over 10 hours may waive
                                                             22 their second 30-minute meal period, irrespective of whether the first meal period
                                                             23 was waived. These uniform policies and practices failed to state that employees
                                                             24 may only waive their second meal break if their first meal break was not waived.
                                                             25          43.    Plaintiff is informed and believes, and based thereon alleges, that, due
                                                             26 to Defendants’ uniform policy and practice of requiring employees to prioritize
                                                             27 rendering quick and efficient service to all resort guests, Defendants failed to
                                                             28 relieve Plaintiff and other class members and aggrieved employees of all duties,
                                                                                                              15
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 16 of 69



                                                              1 failed to relinquish control over Plaintiff and the other class members’ and
                                                              2 aggrieved employees’ activities, failed to permit Plaintiff and other class members
                                                              3 and aggrieved employees a reasonable opportunity to take, impeded, and
                                                              4 discouraged them from taking thirty (30) minute uninterrupted meal breaks no later
                                                              5 than the end of their fifth hour of work for shifts lasting at least five (5) hours, and
                                                              6 to take second thirty (30) minute uninterrupted meal breaks no later than their tenth
                                                              7 hour of work for shifts lasting more than ten (10) hours. Specifically, due to
                                                              8 Defendants’ policy and practice of requiring employees to prioritize rendering
                                                              9 quick and efficient service to all hotel guests, Plaintiff and the other class members
                                                             10 and aggrieved employees were regularly denied the opportunity to take their meal
                                                             11 breaks, had their meal breaks interrupted by management with work-related
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                                                             12 questions and instructions, and/or were regularly required to end their meal breaks
                              Glendale, California 91203




                                                             13 before thirty (30) minutes had elapsed in order to provide immediate service to
                                                             14 guests at the direction of management. Defendants regularly entered the break
                                                             15 room where Plaintiff and the other class members and aggrieved employees were
                                                             16 taking their meal and rest breaks and required them to stop their breaks to continue
                                                             17 working or to discuss tasks that needed to be done after their breaks were over.
                                                             18 Further, other class members and aggrieved employees generally encountered
                                                             19 guests throughout the resort on a day-to-day basis prior to clocking in, during meal
                                                             20 and rest breaks, and after clocking out on a regular basis, and thus they were
                                                             21 required to adhere to this standard uniform policy during all such encounters.
                                                             22          44.   Plaintiff is informed and believes, and based thereon alleges, that
                                                             23 Defendants’ uniform policies and practices resulted in unrecorded work before and
                                                             24 after shifts, and also prevented other class members and aggrieved employees from
                                                             25 taking meal and rest breaks that were truly uninterrupted and duty-free, as other
                                                             26 class members were to be on-call and available to provide service and assistance at
                                                             27 all times while on Defendants’ premises, including when on their meal and rest
                                                             28 breaks.
                                                                                                              16
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 17 of 69



                                                              1          45.   Further, Plaintiff is informed and believes, and based thereon alleges,
                                                              2 that Defendants had a uniform practice and/or policy during the Class Period,
                                                              3 which applied to Plaintiff and all other class members and aggrieved employees,
                                                              4 that required employees to remain on-site during all ten (10) minute rest breaks.
                                                              5 Defendants’ applicable Employee Handbooks that applied to Plaintiff and the other
                                                              6 class members and aggrieved employees during the relevant time period further
                                                              7 failed to state that employees are free to leave the premises for rest breaks. These
                                                              8 uniform policies and practices also failed to provide lawful timing requirements
                                                              9 for second, third, and fourth rest breaks, contrary to California law.
                                                             10          46.   Plaintiff is informed and believes, and based thereon alleges, that
                                                             11 Defendants rigidly enforced their on-site rest break policy and failed to relieve
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                                                             12 Plaintiff and the other class members and aggrieved employees of all employer
                              Glendale, California 91203




                                                             13 control during their rest breaks in violation of California law. Plaintiff is also
                                                             14 informed and believes that Defendants had a uniform policy and practice requiring
                                                             15 Plaintiff and the other class members and aggrieved employees to ask their
                                                             16 supervisors for permission to go on their rest breaks, and further, that these requests
                                                             17 were regularly denied due to Defendants’ practices of understaffing despite heavy
                                                             18 workloads.
                                                             19          47.   Plaintiff is informed and believes, and based thereon alleges, that
                                                             20 Defendants knew or should have known that Plaintiff and the other class members
                                                             21 and aggrieved employees were entitled to receive all meal periods or payment of
                                                             22 one additional hour of pay at Plaintiff’s and the other class member’s regular rate
                                                             23 of pay when a meal period was missed, shortened, late, or interrupted and they did
                                                             24 not receive all meal periods or payment of one additional hour of pay at Plaintiff’s
                                                             25 and the other class member’s and aggrieved employees’ regular rate of pay when
                                                             26 a meal period was missed, shortened, late, and/or interrupted. On occasions when
                                                             27 Defendants did pay a meal period premium to Plaintiff and the other class members
                                                             28 and aggrieved employees, it was paid at the base rate of pay, rather than at the
                                                                                                              17
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 18 of 69



                                                              1 employee’s adjusted regular rate of pay based on additional remuneration such as
                                                              2 commission and service charges.
                                                              3          48.   Plaintiff is informed and believes, and based thereon alleges, that, due
                                                              4 to Defendants’ uniform policy and practice of requiring employees to prioritize
                                                              5 rendering quick and efficient service to all resort guests, Defendants failed to
                                                              6 provide, authorize, and permit Plaintiff and other class members and aggrieved
                                                              7 employees to take full, uninterrupted, off-duty rest periods for every shift lasting
                                                              8 three and one-half (3.5) to six (6) hours and/or two full, uninterrupted, off-duty rest
                                                              9 periods for every shift lasting six (6) to ten (10) hours, and failed to make a good
                                                             10 faith effort to authorize, permit, and provide such rest breaks in the middle of each
                                                             11 work period. Specifically, due to Defendants’ policy and practice of requiring
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                                                             12 employees to prioritize rendering quick and efficient service to all resort guests,
                              Glendale, California 91203




                                                             13 Plaintiff and the other class members and aggrieved employees were regularly
                                                             14 denied the opportunity to take their rest breaks, had their rest breaks interrupted by
                                                             15 management with work-related questions and instructions, and/or were regularly
                                                             16 required to end their rest breaks before ten (10) minutes had elapsed in order to
                                                             17 provide immediate service to guests at the direction of management. Defendants
                                                             18 regularly entered the break room where Plaintiff and the other class members and
                                                             19 aggrieved employees were taking their meal and rest breaks and required them to
                                                             20 stop their breaks to continue working or to discuss tasks that needed to be done
                                                             21 after their breaks were over.
                                                             22          49.   Plaintiff is informed and believes, and based thereon alleges, that
                                                             23 Defendants knew or should have known that Plaintiff and the other class members
                                                             24 and aggrieved employees were entitled to receive all rest periods or payment of
                                                             25 one additional hour of pay at Plaintiff’s and the other class member’s and aggrieved
                                                             26 employees’ regular rate of pay when a rest period was missed, shortened, late, or
                                                             27 interrupted and they did not receive all rest periods or payment of one additional
                                                             28 hour of pay at Plaintiff’s and the other class members’ and aggrieved employees’
                                                                                                              18
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 19 of 69



                                                              1 regular rates of pay when a rest period was missed, shortened, late, or interrupted.
                                                              2          50.   Plaintiff is informed and believes, and based thereon alleges, that
                                                              3 Defendants had a uniform policy and practice that applied to Plaintiff and all the
                                                              4 other class members and aggrieved employees, which failed to mention whatsoever
                                                              5 that the other class members and aggrieved employees were entitled to premium
                                                              6 pay for missed, short, late, or interrupted meal and/or rest breaks. Plaintiff is
                                                              7 further informed and believes that Defendants failed to pay any premiums for
                                                              8 noncompliant rest breaks during the relevant time period, despite the fact that all
                                                              9 of the rest breaks they have provided to the other class members and aggrieved
                                                             10 employees —in requiring them to remain on-site for those breaks—have been in
                                                             11 violation of California law and eligible for premium pay. Plaintiff is also informed
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                                                             12 and believes that Defendants have not even created a pay code that would enable
                              Glendale, California 91203




                                                             13 payroll to process rest break premium pay.
                                                             14          51.   Plaintiff is informed and believes, and based thereon alleges, that
                                                             15 Defendants knew or should have known that Plaintiff and the other class members
                                                             16 and aggrieved employees were entitled to receive at least minimum wages for
                                                             17 compensation and that they were not receiving at least minimum wages for all
                                                             18 hours worked. Defendants’ failure to pay minimum wages included, inter alia,
                                                             19 Defendants’ effective payment of zero dollars per hour for hours Plaintiff and the
                                                             20 other class members and aggrieved employees worked off-the-clock before the
                                                             21 start of their shifts, after the end of their shifts, and during meal and rest breaks, by
                                                             22 performing work duties, including, but not limited to, accessing and leaving
                                                             23 employee parking lots through a specific, longer route; walking significant
                                                             24 distances from the employee parking lots to reach their places of work and back;
                                                             25 traveling to their designated employee lockers and putting on uniforms and/or
                                                             26 putting away personal belongings to become “work ready”; setting up the banquet
                                                             27 room before being given the opportunity to clock in for shifts; cleaning; taking
                                                             28 linens to the linen closet; traveling to their designated employee lockers, collecting
                                                                                                              19
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 20 of 69



                                                              1 personal belongings, taking off uniforms; dropping off and picking up uniforms
                                                              2 from the laundry; calculating tips; closing out tables; completing paperwork and
                                                              3 required reports at after clocking out at the end of their shifts; and providing
                                                              4 immediate service to guests. These tasks were done off-the-clock at the direction
                                                              5 of management on a routine basis and took at least ten to fifteen minutes on average.
                                                              6          52.   Plaintiff is informed and believes, and based thereon alleges, that
                                                              7 Defendants had a uniform policy and practice that applied to Plaintiff and all the
                                                              8 other class members and aggrieved employees, which required employees to arrive
                                                              9 at work early to ensure they clocked-in on time to adhere to Defendants’ strict
                                                             10 policy against tardiness where employees would be disciplined if clocking-in any
                                                             11 later than three (3) minutes after their start time.
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                                                             12          53.   Plaintiff is informed and believes, and based thereon alleges, that
                              Glendale, California 91203




                                                             13 Defendants had a common policy and/or practice that applied to Plaintiff and all
                                                             14 the other class members and aggrieved employees, which discouraged the
                                                             15 recording of overtime that results in employees working off-the-clock.
                                                             16          54.   Plaintiff is informed and believes, and based thereon alleges, that
                                                             17 Defendants had a common policy and/or practice that applied to Plaintiff and all
                                                             18 the other class members and aggrieved employees, which permitted employees to
                                                             19 launder their uniform on-site at the Defendants’ laundry facility or through a
                                                             20 laundry service by dropping-off their laundry on site at Defendants’ premises.
                                                             21 However, employees were required to remain off-the-clock when traveling to or
                                                             22 from Defendants’ laundry facility, despite these facilities being on resort property,
                                                             23 and thus Defendants still expected employees to remain on-call and available to
                                                             24 assist guests during this time.
                                                             25          55.   Plaintiff is informed and believes, and based thereon alleges, that
                                                             26 Defendants had a common policy and/or practice that applied to Plaintiff and all
                                                             27 the other class members and aggrieved employees, which required employees to
                                                             28 don and doff uniforms in the locker room, off-the-clock, before clocking in and
                                                                                                              20
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 21 of 69



                                                              1 after clocking out.
                                                              2          56.   Plaintiff is informed and believes, and based thereon alleges, that
                                                              3 Defendants had a common policy and/or practice that applied to Plaintiff and all
                                                              4 the other class members and aggrieved employees, which required all non-exempt,
                                                              5 hourly paid employees to clock-in and clock-out using a biometric time clock
                                                              6 located in the specific building where their departments were housed. Further,
                                                              7 when using the time clocks, employees were also required to wait in line to clock-
                                                              8 in and clock-out. Thus, no employee was able to record any time spent on duty
                                                              9 prior to clocking-in or while clocked-out.
                                                             10          57.   Plaintiff is informed and believes, and based thereon alleges, that
                                                             11 Defendants had a common policy and/or practice that applied to Plaintiff and all
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                                                             12 the other class members and aggrieved employees, which allows employees to
                              Glendale, California 91203




                                                             13 clock-in and clock out using their own personal cell phones through a geo-locked
                                                             14 application. Upon information and belief, the application allows employees to
                                                             15 clock-in or out three (3) minutes away from the department’s building.
                                                             16          58.   Plaintiff is informed and believes, and based thereon alleges, that
                                                             17 Defendants knew or should have known that Plaintiff and the other class members
                                                             18 and aggrieved employees were entitled to receive all wages owed to them upon
                                                             19 discharge or resignation, including earned but unpaid overtime wages, minimum
                                                             20 wages, reporting time pay, and meal and rest period premiums, and they did not,
                                                             21 in fact, receive all such wages owed to them at the time of their discharge or
                                                             22 resignation.
                                                             23          59.   Plaintiff is informed and believes, and based thereon alleges, that
                                                             24 Defendants knew or should have known that Plaintiff and the other class members
                                                             25 and aggrieved employees were entitled to receive all wages owed to them during
                                                             26 their employment. Plaintiff and the other class members and aggrieved employees
                                                             27 did not receive payment of all wages, including earned but unpaid overtime wages,
                                                             28 minimum wages, reporting time pay, and meal and rest period premiums, within
                                                                                                              21
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 22 of 69



                                                              1 any time permissible under California Labor Code section 204.
                                                              2          60.   Plaintiff is informed and believes, and based thereon alleges, that
                                                              3 Defendants knew or should have known that Defendants had to keep complete and
                                                              4 accurate payroll records for Plaintiff and the other class members and aggrieved
                                                              5 employees in accordance with California law, but, in fact, did not keep complete
                                                              6 and accurate payroll records. Defendants’ failure included, inter alia, the failure
                                                              7 to keep accurate records of the hours worked by Plaintiff and other class members
                                                              8 and aggrieved employees.
                                                              9          61.   Plaintiff is informed and believes, and based thereon alleges, that
                                                             10 Defendants knew or should have known that Plaintiff and the other class members
                                                             11 and aggrieved employees were entitled to receive complete and accurate wage
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                                                             12 statements in accordance with California law, but, in fact, they did not receive
                              Glendale, California 91203




                                                             13 complete and accurate wage statements from Defendants. The deficiencies
                                                             14 included, inter alia, the failure to include the total number of hours worked by
                                                             15 Plaintiff and the other class members and aggrieved employees, the accurate total
                                                             16 amount of wages earned by Plaintiff and the other class members and aggrieved
                                                             17 employees, and all meal and rest premiums owed.
                                                             18          62.   Plaintiff is informed and believes, and based thereon alleges, that
                                                             19 Defendants knew or should have known that Plaintiff and the other class members
                                                             20 and aggrieved employees were entitled to reimbursement for necessary business-
                                                             21 related expenses, including, inter alia, the use of personal cell phones for business-
                                                             22 related purposes and purchasing and maintaining work-related clothing.
                                                             23          63.   Plaintiff is informed and believes, and based thereon alleges, that
                                                             24 Defendants knew or should have known that Plaintiff and the other class members
                                                             25 and aggrieved employees were entitled to pay equal to half the usual or scheduled
                                                             26 day’s work in an amount no less than two (2) hours nor more than four (4) hours
                                                             27 at the employee’s regular rate of pay for each workday in which Plaintiff and the
                                                             28 other class members and aggrieved employees were required to report to work and
                                                                                                              22
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 23 of 69



                                                              1 were furnished less than half the usual or scheduled day’s work. Specifically,
                                                              2 Defendants maintained a uniform policy requiring Plaintiff and the other class
                                                              3 members and aggrieved employees to call-in and/or be available to receive calls
                                                              4 two (2) hours prior to the start of their scheduled shift to find out whether or not
                                                              5 they would be coming in to work their scheduled shift that day and did not pay the
                                                              6 requisite reporting time pay at the regular rate of pay on days when Plaintiff and
                                                              7 the other class members and aggrieved employees called in and were not put to
                                                              8 work.
                                                              9          64.   Plaintiff is informed and believes, and based thereon alleges, that
                                                             10 Defendants knew or should have known that they had a duty to compensate
                                                             11 Plaintiff and the other class members and aggrieved employees pursuant to
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                                                             12 California law, and that Defendants had the financial ability to pay such
                              Glendale, California 91203




                                                             13 compensation, but willfully, knowingly, and intentionally failed to do so, and
                                                             14 falsely represented to Plaintiff and the other class members and aggrieved
                                                             15 employees that they were properly denied wages, all in order to increase
                                                             16 Defendants’ profits.
                                                             17          65.   During the relevant time period, Defendants failed to pay overtime
                                                             18 wages to Plaintiff and the other class members and aggrieved employees for all
                                                             19 overtime hours worked. Plaintiff and the other class members were required to
                                                             20 work more than eight (8) hours per day, forty (40) hours per week, and/or more
                                                             21 than six (6) consecutive days in a workweek without overtime compensation, at the
                                                             22 proper rate, for all overtime hours worked.
                                                             23          66.   During the relevant time period, Defendants required Plaintiff and the
                                                             24 other class members and aggrieved employees to regularly and/or consistently work
                                                             25 in excess of six (6) days in a workweek, and Defendants required Plaintiff and the
                                                             26 other class members and aggrieved employees to work in excess of thirty (30) hours
                                                             27 in a week and/or six (6) hours in any one (1) day thereof, during workweeks in which
                                                             28 they were required to work in excess of six (6) days.
                                                                                                              23
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 24 of 69



                                                              1          67.   During the relevant time period, Defendants failed to provide all
                                                              2 requisite uninterrupted meal and rest periods to Plaintiff and the other class
                                                              3 members and aggrieved employees.
                                                              4          68.   During the relevant time period, Defendants failed to pay Plaintiff and
                                                              5 the other class members and aggrieved employees at least minimum wages for all
                                                              6 hours worked.
                                                              7          69.   During the relevant time period, Defendants failed to pay Plaintiff and
                                                              8 the other class members and aggrieved employees all wages owed to them upon
                                                              9 discharge or resignation.
                                                             10          70.   During the relevant time period, Defendants failed to pay Plaintiff and
                                                             11 the other class members and aggrieved employees all wages within any time
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                                                             12 permissible under California law, including, inter alia, California Labor Code
                              Glendale, California 91203




                                                             13 section 204.
                                                             14          71.   During the relevant time period, Defendants required Plaintiff and the
                                                             15 other class members and aggrieved employees to report to work without putting
                                                             16 them to work or paying them the requisite reporting time pay. Namely, during the
                                                             17 relevant time period, Defendants failed to pay Plaintiff and other class members and
                                                             18 aggrieved employees half the usual or scheduled day’s work in an amount no less
                                                             19 than two (2) hours at the employee’s regular rate of pay for workdays in which
                                                             20 Plaintiff and the other class members and aggrieved employees reported to work
                                                             21 physically or pursuant to Defendant’s call-in policy and were furnished less than half
                                                             22 the usual or scheduled day’s work, and Defendants failed to pay Plaintiff and other
                                                             23 class members and aggrieved employees for two (2) hours at the employee’s regular
                                                             24 rate of pay on days in which Plaintiff and other class members and aggrieved
                                                             25 employees were required to report for work a second time in one workday and were
                                                             26 furnished less than two (2) hours of work upon the second reporting.
                                                             27 ///
                                                             28 ///
                                                                                                              24
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 25 of 69



                                                              1          72.   During the relevant time period, Defendants failed to provide
                                                              2 complete or accurate wage statements to Plaintiff and the other class members and
                                                              3 aggrieved employees.
                                                              4          73.   During the relevant time period, Defendants failed to keep complete
                                                              5 or accurate payroll records for Plaintiff and the other class members and aggrieved
                                                              6 employees.
                                                              7          74.   During the relevant time period, Defendants failed to reimburse
                                                              8 Plaintiff and the other class members and aggrieved employees for all necessary
                                                              9 business-related expenses and costs.
                                                             10          75.   During the relevant time period, Defendants failed to properly
                                                             11 compensate Plaintiff and the other class members and aggrieved employees
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                                                             12 pursuant to California law in order to increase Defendants’ profits.
                              Glendale, California 91203




                                                             13          76.   California Labor Code section 218 states that nothing in Article 1 of
                                                             14 the Labor Code shall limit the right of any wage claimant to “sue directly . . . for
                                                             15 any wages or penalty due to him [or her] under this article.”
                                                             16                               FIRST CAUSE OF ACTION
                                                             17                (Violation of California Labor Code §§ 510 and 1198)
                                                             18       (Against HV GLOBAL MANAGEMENT CORPORATION and DOES 1
                                                             19                                        through 100)
                                                             20          77.   Plaintiff incorporates by reference the allegations contained in
                                                             21 Paragraphs 1 through 76, and each and every part thereof with the same force and
                                                             22 effect as though fully set forth herein.
                                                             23          78.   California Labor Code section 1198 and the applicable Industrial
                                                             24 Welfare Commission (“IWC”) Wage Order provide that it is unlawful to employ
                                                             25 persons without compensating them at a rate of pay either time-and-one-half or
                                                             26 two-times that person’s regular rate of pay, depending on the number of hours
                                                             27 worked by the person on a daily or weekly basis.
                                                             28 ///
                                                                                                              25
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 26 of 69



                                                              1          79.   Specifically, the applicable IWC Wage Order provides that
                                                              2 Defendants are and were required to pay Plaintiff and the other class members
                                                              3 employed by Defendants, and working more than eight (8) hours in a day, more
                                                              4 than forty (40) hours in a workweek, and/or more than six (6) consecutive days in
                                                              5 a workweek at the rate of time-and-one-half for all hours worked in excess of eight
                                                              6 (8) hours in a day, more than forty (40) hours in a workweek, or the first eight (8)
                                                              7 hours worked on the seventh day in a workweek. The applicable IWC Wage Order
                                                              8 further provides that Defendants are and were required to pay Plaintiff and the other
                                                              9 class members overtime compensation at a rate of two times their regular rate of
                                                             10 pay for all hours worked in excess of twelve (12) hours in a day.
                                                             11          80.   California Labor Code section 510 codifies the right to overtime
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                                                             12 compensation at one-and-one-half times the regular hourly rate for hours worked
                              Glendale, California 91203




                                                             13 in excess of eight (8) hours in a day, in excess of forty (40) hours in a week, or for
                                                             14 the first eight (8) hours worked on the seventh day of work, and to overtime
                                                             15 compensation at twice the regular hourly rate for hours worked in excess of twelve
                                                             16 (12) hours in a day or in excess of eight (8) hours in a day on the seventh day of
                                                             17 work.
                                                             18          81.   During the relevant time period, Defendants’ policies and practices,
                                                             19 including their Employee Handbook, required Plaintiff and the other class
                                                             20 members to park in a specific parking lots designated for employees, and prohibited
                                                             21 them from using the main roads to enter these lots in their vehicles, instead
                                                             22 requiring them to take a detour through a residential area. This detour took up to
                                                             23 four (4) minutes longer than it would have taken employees had they been able to
                                                             24 access the lots through the main road. These lots were a significant distance from
                                                             25 the facilities, requiring Plaintiff and other class members to walk a significant
                                                             26 distance just to reach their place of work. For example, before every shift, Plaintiff
                                                             27 was required to park in the designated employee lot from which it took him
                                                             28 approximately five minutes to reach the time clock that he was required to use.
                                                                                                              26
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 27 of 69



                                                              1 During this portion of the commute to work, Defendants exercised control over
                                                              2 Plaintiff and the other class members and, thus, were required to compensate
                                                              3 Plaintiff and the other class members for time spent under Defendants’ control.
                                                              4          82.   During the relevant time period, Plaintiff and other class members
                                                              5 would have to arrive at work early to ensure they clocked-in on time to adhere to
                                                              6 Defendants’ strict policy against tardiness where employees would be disciplined
                                                              7 if clocking-in any later than three (3) minutes after their start time.
                                                              8          83.   During the relevant time period, Plaintiff and the other class members
                                                              9 were required by Defendant to wear uniforms while working. Defendants had a
                                                             10 policy and practice of requiring that Plaintiff and the other class members clock in
                                                             11 for work in clean uniforms daily, requiring them to put their uniforms in the laundry
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                                                             12 at Defendants’ facilities. As such, Plaintiff and the other class members were
                              Glendale, California 91203




                                                             13 forced to keep their uniforms in their lockers or with the laundry facilities at work
                                                             14 and change into them upon arrival for their scheduled shift before clocking in, and
                                                             15 to change out of their uniforms and bring them to the laundry after clocking out.
                                                             16 For example, at least once a week, Plaintiff had to first walk to the housekeeping
                                                             17 building to pick up his clean uniforms before clocking in for his shift. Further, at
                                                             18 least once a week, Plaintiff had to walk to the housekeeping building to drop off
                                                             19 his dirty uniforms after clocking out.
                                                             20          84.    During the relevant time period, Defendants’ policies, including the
                                                             21 Employee Handbook, required Plaintiff and the other class members to have all
                                                             22 personal belongings put away while working. As such, Plaintiff and the other class
                                                             23 members were required to put their personal belongings away in the lockers
                                                             24 assigned to them by Defendants at Defendants’ facilities upon arrival for their
                                                             25 scheduled shifts before clocking in, and to go to their designated lockers and take
                                                             26 out their personal belongings after clocking out.
                                                             27 ///
                                                             28 ///
                                                                                                              27
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 28 of 69



                                                              1          85.   During the relevant time period, Defendants’ uniform policies and
                                                              2 practices, including the Employee Handbook, required all employees be in full
                                                              3 uniform and ready to begin work prior to clocking in for their shifts, and requiring
                                                              4 all employees to clock out immediately after their scheduled shift was complete.
                                                              5 As a result, during the relevant time period, Plaintiff and the other class members
                                                              6 were required to pick up their uniforms from the laundry, go to their lockers to
                                                              7 change, and to store their personal belongings before they were allowed to clock
                                                              8 in for their scheduled shifts. Additionally, as a result of this policy and practice,
                                                              9 Plaintiff and the other class members were required to clock out before closing out
                                                             10 their tables, calculating tips, going to their designated lockers to change out of their
                                                             11 uniforms and collect their personal belongings, and dropping their dirty uniforms
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                                                             12 off at the laundry. Specifically, before every shift, Plaintiff was required to travel
                              Glendale, California 91203




                                                             13 on company approved routes to the employee parking lot; walk to the building
                                                             14 where the lockers were located; walk downstairs to his designated employee
                                                             15 locker; change into his uniform shirt, pants, and apron; put away his phone, keys,
                                                             16 and wallet; and walk back upstairs to the time clock before clocking in. Further,
                                                             17 after every shift, Plaintiff was required to clock out before walking downstairs to
                                                             18 his designated employee locker; changing out of his uniform shirt, pants, and
                                                             19 apron; retrieving his phone, keys, and wallet; and walking back upstairs to exit the
                                                             20 building and travel to the employee parking lot and through company approved
                                                             21 routes after clocking out.
                                                             22          86.   During the relevant time period, Defendants’ policy, practice, and
                                                             23 Attendance Disciplinary Notice form required reprimand of Plaintiff and the other
                                                             24 class members for clocking in more than three minutes after the start of their
                                                             25 scheduled shifts. As a result, Plaintiff and the other class members were required
                                                             26 to arrive at work prior to their scheduled start times to ensure they were in full
                                                             27 uniform and work ready by the time they were required to clock in. For example,
                                                             28 at least once a week, Plaintiff was regularly required to arrive at the employee
                                                                                                              28
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 29 of 69



                                                              1 parking lot fifteen (15) minutes prior to the start of his shift to ensure he had time
                                                              2 to pick up his uniform from the laundry, walk to the building that housed his
                                                              3 designated employee locker, go downstairs to the locker room, change into his
                                                              4 uniform and put away his personal belongings, and walk back up the stairs to clock
                                                              5 in before his scheduled start time.
                                                              6          87.   During the relevant time period, Defendants’ policies and practices,
                                                              7 including their Employee Performance Reviews, required employees to ensure
                                                              8 guests enjoy a leisurely conclusion to their meals. As a result of these policies and
                                                              9 practices, Plaintiff and the other class members were required to continue working
                                                             10 as long as necessary until all guests were finished dining and closing procedures
                                                             11 had been completed. Specifically, Plaintiff was regularly scheduled to work shifts
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                                                             12 beginning anywhere from 1:00 p.m. to 4:30 p.m. and required to continue working
                              Glendale, California 91203




                                                             13 until 11:00 p.m. or later.
                                                             14          88.   During the relevant time period, Defendants’ policies and practices,
                                                             15 including their Employee Performance Reviews and Employee Handbook,
                                                             16 required employees to prioritize rendering quick and efficient service to all resort
                                                             17 guests. Due to these policies and practices, Plaintiff and the other class members
                                                             18 were regularly approached by managers while clocked out for their meal breaks
                                                             19 and required to provide immediate service to guests while off the clock. For
                                                             20 example, at least twice a week while clocked out for his meal break in the employee
                                                             21 break room, Plaintiff was approached by superiors and told that a party had just
                                                             22 finished eating one course of their meal and that he was required to clear their
                                                             23 plates immediately to prepare for their next course. Further, at least once a week
                                                             24 while clocked out for his meal break in the employee break room, Plaintiff was
                                                             25 approached by superiors and told that he needed to complete additional set up
                                                             26 immediately. On these occasions, Plaintiff was instructed to address these issues
                                                             27 immediately and to remain clocked out while doing so.
                                                             28 ///
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                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 30 of 69



                                                              1          89.   As a result of Defendants’ policies and practices, during the relevant
                                                              2 time period, Plaintiff and the other class members were required to work in excess
                                                              3 of eight (8) hours in a day, in excess of forty (40) hours in a week, and/or in excess
                                                              4 of six (6) consecutive days in a workweek performing work duties off-the-clock
                                                              5 prior to clocking in on a weekly basis, including accessing employee parking lots
                                                              6 through a specific, longer route; walking significant distances from the employee
                                                              7 parking lots to reach their places of work; picking up uniforms from the laundry;
                                                              8 traveling to their designated employee lockers and putting on uniforms and/or
                                                              9 putting away personal belongings to become “work ready”; providing immediate
                                                             10 service to dining guests, and setting up the banquet room.
                                                             11          90.   As a result of Defendants’ policies and practices, during the relevant
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                                                             12 time period, Plaintiff and the other class members were required to work in excess
                              Glendale, California 91203




                                                             13 of eight (8) hours in a day, in excess of forty (40) hours in a week, and/or in excess
                                                             14 of six (6) consecutive days in a workweek performing work duties off-the-clock
                                                             15 after clocking out on a weekly basis, including leaving the employee parking lots
                                                             16 through a specific, longer route; walking significant distances to the employee
                                                             17 parking lots; taking off uniforms; collecting personal belongings from lockers;
                                                             18 taking uniforms to the laundry; calculating tips; and closing out tables.
                                                             19          91.    For example, at least once a week, Plaintiff was required to be “work
                                                             20 ready” and clocked in by 3:00 p.m. This required Plaintiff to get to Defendants’
                                                             21 facilities by 2:45 p.m., as, upon arriving, he was required to drive past the resort
                                                             22 onto a detour through a small, windy, residential street in order to reach the
                                                             23 designated employee parking lot where he was required to park. Once parked in
                                                             24 the lot, he was required to walk to the housekeeping building to pick up his
                                                             25 uniform, walk to the building that housed his designated employee locker, travel
                                                             26 downstairs to the locker room, change into his uniform shirt, pants, and apron that
                                                             27 he was required to wear as a server, and store his phone, wallet, and other personal
                                                             28 belongings inside of his designated employee locker. After this, Plaintiff would go
                                                                                                              30
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 31 of 69



                                                              1 back upstairs and clock in, and begin various set-up tasks, such as setting up large
                                                              2 tables, cleaning up surrounding areas, and polishing silverware and glassware. As
                                                              3 soon as he finished setting up, he was required to wait for guests to arrive and be
                                                              4 ready to greet them. Plaintiff would not be permitted to begin cleaning up until all
                                                              5 guests were done dining and the dining room was empty, which did not happen
                                                              6 until approximately 10:30 p.m. Once guests were finished dining and the dining
                                                              7 room was empty, Plaintiff cleaned up, which included clearing off tables, bussing
                                                              8 all dishware and silverware, taking all linens off the tables, and putting them in the
                                                              9 linen bags, wiping down tables, breaking down tables, putting tables and chairs
                                                             10 back in their designated areas, and taking out the garbage. Plaintiff was also
                                                             11 required to calculate and report his tips in order to close out his tables before
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                                                             12 leaving and was told by management to clock out before doing this. After clocking
                              Glendale, California 91203




                                                             13 out and closing out his tables, Plaintiff was then required to go back to the locker
                                                             14 room, put his uniform in the laundry, collect his personal belongings, walk back to
                                                             15 the employee parking lot, and exit the lot through the same residential street from
                                                             16 which he was required to enter the lot each day. As a result, Plaintiff regularly
                                                             17 worked over eight (8) hours a day and/or over forty (40) hours a week due to time
                                                             18 spent working off-the-clock but was not compensated for these overtime hours.
                                                             19          92.   Further, during the relevant time period, Defendants issued non-
                                                             20 discretionary payments to the other class members (in the forms of non-
                                                             21 discretionary bonuses, shift differential payments, incentives, commissions,
                                                             22 service charge payments, and other forms of non-discretionary payments) that
                                                             23 should have been included in Plaintiff and the other class members’ regular rates
                                                             24 of pay when calculating overtime. However, Defendants failed to implement a
                                                             25 practice of doing this. Defendants thus failed to include all non-discretionary
                                                             26 incentive payments in the regular rate of pay for purposes of overtime.
                                                             27 ///
                                                             28 ///
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                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 32 of 69



                                                              1          93.    During the relevant time period, Defendants intentionally and
                                                              2 willfully failed to pay overtime wages owed to Plaintiff and the other class
                                                              3 members at all or at the correct rate. Defendants had a policy and practice of
                                                              4 requiring employees to change into their full uniforms prior to clocking in.
                                                              5 Defendants’ failure to pay Plaintiff and the other class members the unpaid balance
                                                              6 of overtime compensation, as required by California laws, violates the provisions
                                                              7 of California Labor Code sections 510 and 1198, and is therefore unlawful.
                                                              8          94.    Pursuant to California Labor Code section 1194, Plaintiff and the other
                                                              9 class members are entitled to recover unpaid overtime compensation, as well as
                                                             10 interest, costs, and attorneys’ fees.
                                                             11                             SECOND CAUSE OF ACTION
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                                                             12                (Violation of California Labor Code §§ 226.7 and 512(a))
                              Glendale, California 91203




                                                             13      (Against HV GLOBAL MANAGEMENT CORPORATION and DOES 1
                                                             14                                         through 100)
                                                             15          95.    Plaintiff incorporates by reference the allegations contained in
                                                             16 paragraphs 1 through 94, and each and every part thereof with the same force and
                                                             17 effect as though fully set forth herein.
                                                             18          96.    At all relevant times, the IWC Order and California Labor Code
                                                             19 sections 226.7 and 512(a) were applicable to Plaintiff’s and the other class
                                                             20 members’ employment by Defendants.
                                                             21          97.    At all relevant times, California Labor Code section 226.7 provides
                                                             22 that no employer shall require an employee to work during any meal or rest period
                                                             23 mandated by an applicable order of the California IWC.
                                                             24          98.    At all relevant times, the applicable IWC Wage Order and California
                                                             25 Labor Code section 512(a) provide that an employer may not require, cause or
                                                             26 permit an employee to work for a work period of more than five (5) hours per day
                                                             27 without providing the employee with a meal period of not less than thirty (30)
                                                             28 minutes, except that if the total work period per day of the employee is no more
                                                                                                              32
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 33 of 69



                                                              1 than six (6) hours, the meal period may be waived by mutual consent of both the
                                                              2 employer and employee.
                                                              3          99.   At all relevant times, the applicable IWC Wage Order and California
                                                              4 Labor Code section 512(a) further provide that an employer may not require, cause
                                                              5 or permit an employee to work for a work period of more than ten (10) hours per
                                                              6 day without providing the employee with a second uninterrupted meal period of
                                                              7 not less than thirty (30) minutes, except that if the total hours worked is no more
                                                              8 than twelve (12) hours, the second meal period may be waived by mutual consent
                                                              9 of the employer and the employee only if the first meal period was not waived.
                                                             10          100. During the relevant time period, Plaintiff and the other class members
                                                             11 who were scheduled to work for a period of time no longer than six (6) hours, and
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                                                             12 who did not waive their legally mandated meal periods by mutual consent, were
                              Glendale, California 91203




                                                             13 required to work for periods longer than five (5) hours without an uninterrupted
                                                             14 meal period of not less than thirty (30) minutes and/or rest period.
                                                             15          101. During the relevant time period, Plaintiff and the other class members
                                                             16 who were scheduled to work for a period of time in excess of six (6) hours were
                                                             17 required to work for periods longer than five (5) hours without an uninterrupted
                                                             18 meal period of not less than thirty (30) minutes and/or rest period.
                                                             19          102. During the relevant time period, Plaintiff and the other class members’
                                                             20 meal periods were missed, shortened, late, and/or were interrupted due to
                                                             21 Defendants’ uniform policy and practice of prioritizing rendering quick and
                                                             22 efficient service to all resort guests; as well as because Defendants required them
                                                             23 to perform work duties including, but not limited to, providing customer service to
                                                             24 clients and serving food and beverages at events at the employer’s facilities.
                                                             25 Defendants’ customer service policy also did not permit Plaintiff and other class
                                                             26 members to abandon a customer they were attending to in order to take an
                                                             27 uninterrupted meal period of no less than thirty (30) minutes before the end of their
                                                             28 fifth hour of work. Due to this policy, Plaintiff and the other class members were
                                                                                                              33
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 34 of 69



                                                              1 regularly denied the opportunity to take their meal breaks, had their meal breaks
                                                              2 interrupted by management with work-related questions and instructions, and/or
                                                              3 were regularly required to end their meal breaks before thirty (30) minutes had
                                                              4 elapsed in order to provide immediate service to guests. By way of example,
                                                              5 Plaintiff was required to serve food and beverages at events that lasted at least 6
                                                              6 hours. Often times, when Plaintiff was working these events, he was not authorized
                                                              7 or permitted to take a full, uninterrupted, timely thirty (30) minute meal break. As
                                                              8 another example, Plaintiff and the other class members were regularly scheduled
                                                              9 to staff events. On those days, Plaintiff and other class members were required to
                                                             10 report to work at 4:30 p.m. and were unable to take a meal break until the event
                                                             11 ended at 10 p.m., as they were not permitted to take breaks while working an event.
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                                                             12 As another example, when working in Defendants’ restaurants, Plaintiff and other
                              Glendale, California 91203




                                                             13 class members were required to report to work at 4:30 p.m. and were unable to take
                                                             14 a meal break until the last table of customers had finished their meal, which was
                                                             15 often as late as 10 p.m.
                                                             16          103. For example, during the relevant time period, Plaintiff was required to
                                                             17 arrive at work between 2:45 p.m. and 4:15 p.m. and immediately begin setting up.
                                                             18 Once he was finished setting up, Plaintiff would ask his managers if he could take
                                                             19 his meal break. At least three times a week, this request was denied, and he was
                                                             20 told that he was only permitted to “quickly get food and come back”, rather than
                                                             21 taking the full thirty (30) minutes to which he was entitled by law, because his
                                                             22 managers, in accordance with Defendants’ uniform policies and practices, required
                                                             23 him to stay and wait for guests to arrive so that he could begin serving them
                                                             24 immediately. Once guests arrived, Plaintiff was not allowed to take a full,
                                                             25 uninterrupted thirty (30) minute break until all guests were finished dining and the
                                                             26 room was empty, which was often as late as 10:30 p.m.
                                                             27 ///
                                                             28 ///
                                                                                                              34
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 35 of 69



                                                              1          104. Defendants interrupted Plaintiff and the other class members during
                                                              2 purported meal periods with business-related inquiries, instructions for tasks,
                                                              3 and/or to require them to return to work before a full thirty (30) minutes elapsed to
                                                              4 complete or begin tasks. For example, in one instance, Plaintiff was working as a
                                                              5 server for a wedding party held in one of Defendants’ banquet rooms. During his
                                                              6 shift, after setting up the banquet room, he was taking his meal break in the
                                                              7 employee break room when his manager entered the break room to notify him that
                                                              8 there had been change in the number of guests at the event and that he would need
                                                              9 to end his break early to make changes to the set-up. As another example, at least
                                                             10 twice a week while clocked out for his meal break in the employee break room,
                                                             11 Plaintiff was approached by superiors and told that a party had just finished eating
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                          410 West Arden Avenue, Suite 203




                                                             12 one course of their meal and that he was required to clear their plates immediately
                              Glendale, California 91203




                                                             13 to prepare for their next course. On these occasions, Plaintiff was instructed to
                                                             14 address these issues immediately, requiring him to end his lunch break before thirty
                                                             15 (30) minutes had elapsed.
                                                             16          105. As a result, Defendants failed to relieve Plaintiff and the other class
                                                             17 members of all duties, failed to relinquish control over Plaintiff and the other class
                                                             18 members’ activities, failed to permit Plaintiff and the other class members a
                                                             19 reasonable opportunity to take, and impeded or discouraged them from taking thirty
                                                             20 (30) minute uninterrupted meal periods no later than the end of their fifth hour of
                                                             21 work for shifts lasting at least six (6) hours, and/or to take second thirty (30) minute
                                                             22 uninterrupted meal periods no later than their tenth hour of work for shifts lasting
                                                             23 more than ten (10) hours.
                                                             24          106. As a result, during the relevant time period, Defendants intentionally
                                                             25 and willfully required Plaintiff and the other class members to work during meal
                                                             26 periods and failed to compensate Plaintiff and the other class members the full meal
                                                             27 period premium for work performed during meal periods.
                                                             28 ///
                                                                                                              35
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 36 of 69



                                                              1          107. During the relevant time period, Defendants failed to pay Plaintiff and
                                                              2 the other class members the full meal period premium due pursuant to California
                                                              3 Labor Code section 226.7. Specifically, during the pay period ending on November
                                                              4 24, 2017, Plaintiff worked three shifts longer than five (5) hours during which he
                                                              5 was not provided uninterrupted meal periods of not less than thirty (30) minutes
                                                              6 and did not waive these legally mandated meal periods by mutual consent.
                                                              7 However, he did not receive premium pay for any of these three missed meal
                                                              8 periods.
                                                              9          108. In addition, when Defendants paid meal period premiums to Plaintiff
                                                             10 and the other class members, the premiums were paid at Plaintiff’s and the other
                                                             11 class members’ base hourly rate, rather than at their respective regular rates of pay.
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                                                             12 Specifically, during the relevant time period, Defendants issued non-discretionary
                              Glendale, California 91203




                                                             13 payments to the other class members (in the forms of non-discretionary bonuses,
                                                             14 shift differential payments, incentives, commissions, service charge payments, and
                                                             15 other forms of non-discretionary payments) that should have been included in
                                                             16 Plaintiff and other class members’ regular rates of pay for purposes of calculating
                                                             17 meal and rest period premiums pursuant to California Labor Code section 226.7.
                                                             18 However, Defendants failed to implement a practice of doing this. Defendants thus
                                                             19 failed to include all non-discretionary incentive payments in the regular rate of pay
                                                             20 for purposes of meal and rest period premiums pursuant to California Labor Code
                                                             21 section 226.7.
                                                             22          109. Despite being aware of the need to adjust the regular rate of pay for
                                                             23 purposes of overtime payments, Defendants did not do so for purposes of
                                                             24 calculating meal period premiums paid to Plaintiff and the other class members.
                                                             25          110. Defendants’ conduct violates applicable IWC Wage Order and
                                                             26 California Labor Code sections 226.7 and 512(a).
                                                             27 ///
                                                             28 ///
                                                                                                              36
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 37 of 69



                                                              1          111. Pursuant to applicable IWC Wage Order and California Labor Code
                                                              2 section 226.7(c), Plaintiff and the other class members are entitled to recover from
                                                              3 Defendants one additional hour of pay at the employee’s regular rate of
                                                              4 compensation for each workday that the meal or rest period is not provided.
                                                              5                              THIRD CAUSE OF ACTION
                                                              6                      (Violation of California Labor Code § 226.7)
                                                              7       (Against HV GLOBAL MANAGEMENT CORPORATION and DOES 1
                                                              8                                        through 100)
                                                              9          112. Plaintiff incorporates by reference the allegations contained in
                                                             10 paragraphs 1 through 111, and each and every part thereof with the same force and
                                                             11 effect as though fully set forth herein.
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                                                             12          113. At all times herein set forth, the applicable IWC Wage Order and
                              Glendale, California 91203




                                                             13 California Labor Code section 226.7 were applicable to Plaintiff’s and the other
                                                             14 class members’ employment by Defendants.
                                                             15          114. At all relevant times, California Labor Code section 226.7 provides
                                                             16 that no employer shall require an employee to work during any rest period
                                                             17 mandated by an applicable order of the California IWC.
                                                             18          115. At all relevant times, the applicable IWC Wage Order provides that
                                                             19 “[e]very employer shall authorize and permit all employees to take rest periods,
                                                             20 which insofar as practicable shall be in the middle of each work period” and that
                                                             21 the “rest period time shall be based on the total hours worked daily at the rate of
                                                             22 ten (10) minutes net rest time per four (4) hours or major fraction thereof” unless
                                                             23 the total daily work time is less than three and one-half (3 ½) hours.
                                                             24          116. During the relevant time period, Defendants required Plaintiff and
                                                             25 other class members to work three and one-half (3 ½) or more hours without
                                                             26 authorizing or permitting a ten (10) minute rest period per each four (4) hour
                                                             27 period, or major fraction thereof, worked.
                                                             28 ///
                                                                                                              37
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 38 of 69



                                                              1          117. During the relevant time period, Defendants did not provide Plaintiff
                                                              2 and the other class members ten (10) minute rest periods when they worked shifts
                                                              3 of at least three and one-half (3 ½) hours but less than four (4) hours in length. By
                                                              4 way of example, Plaintiff was required to serve food and beverages at events that
                                                              5 lasted at least 6 hours. Often times when Plaintiff was working these events, he
                                                              6 was not authorized or permitted to take a full, uninterrupted, timely, and off-duty
                                                              7 rest period.
                                                              8          118. During the relevant time period, Plaintiff and the other class members’
                                                              9 rest periods were missed, shortened, late, and/or were interrupted due to
                                                             10 Defendants’ uniform policy and practice of prioritizing rendering quick and
                                                             11 efficient service to all resort guests. Due to this policy, Plaintiff and the other class
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                                                             12 members were regularly denied the opportunity to take a timely, uninterrupted rest
                              Glendale, California 91203




                                                             13 period of no less than ten (10) minutes for each four hours, or major fraction
                                                             14 thereof, worked, because management interrupted their rest breaks for work-related
                                                             15 questions and instructions, and/or regularly required them to end their rest breaks
                                                             16 before ten (10) minutes had elapsed in order to provide immediate service to guests.
                                                             17          119. Defendants’ customer service policy also did not permit Plaintiff and
                                                             18 other class members to abandon a customer they were attending to in order to take
                                                             19 a timely, uninterrupted rest period of no less than ten (10) minutes for each four
                                                             20 hours, or major fraction thereof, worked. For example, during the relevant time
                                                             21 period, Plaintiff was scheduled to staff private events in Defendants’ banquet room
                                                             22 once a week. On those days, he was required to report to work between 2:45 p.m.
                                                             23 and 4:00 p.m. and immediately began setting up the banquet room. Once he was
                                                             24 finished setting up the banquet room, Plaintiff regularly asked his manager if he
                                                             25 could take a ten (10) minute rest break and was denied, because, in accordance with
                                                             26 Defendants’ uniform policies and practices, management required him to wait for
                                                             27 guests to arrive so that he could begin serving them immediately. Once guests did
                                                             28 arrive, Plaintiff was not allowed to take a full, uninterrupted ten (10) minute break
                                                                                                              38
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 39 of 69



                                                              1 until all guests were finished dining and the room was empty, which was often as
                                                              2 late as 10:30 p.m. As another example, Plaintiff and the other class members were
                                                              3 regularly scheduled to staff events.         On those days, Plaintiff and other class
                                                              4 members were required to report to work at 4:30 p.m. and were unable to take a
                                                              5 rest break until the event ended at 10 p.m., as they were not permitted to take breaks
                                                              6 while working at an event. As another example, when working in Defendants’
                                                              7 restaurants, Plaintiff and other class members were required to work at 4:30 p.m.
                                                              8 and were unable to take a rest break until the last table of customers had finished
                                                              9 their meal, which was often as late as 10 p.m.
                                                             10          120. Defendants interrupted Plaintiff and the other class members during
                                                             11 purported rest periods with business-related inquiries, instructions for tasks, and/or
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                                                             12 to require them to return to work before a full ten (10) minutes elapsed to complete
                              Glendale, California 91203




                                                             13 or begin tasks. For example, at least once a week while Plaintiff was attempting to
                                                             14 take a rest break in the employee break room, management entered the room and
                                                             15 instructed him to complete additional set up immediately. As another example, at
                                                             16 least three times a week while Plaintiff was attempting to take a rest break in the
                                                             17 employee break room, management entered the room and told him that a table he
                                                             18 was serving needed him. On these occasions, Plaintiff was instructed to end go
                                                             19 back to work immediately, requiring him to end his rest break before ten (10)
                                                             20 minutes had elapsed.
                                                             21          121. As a result, Defendants failed to provide, authorize, and/or permit
                                                             22 Plaintiff and other class members to take full, uninterrupted, off-duty rest periods
                                                             23 for every shift lasting three and one-half (3 ½) to six (6) hours and/or two full,
                                                             24 uninterrupted, off-duty rest periods for every shift lasting six (6) to ten (10) hours,
                                                             25 and/or three full, uninterrupted, off-duty rest periods for every shift lasting ten (10)
                                                             26 to fourteen (14) hours and failed to make a good faith effort to authorize, permit,
                                                             27 and provide such rest breaks in the middle of each work period.
                                                             28 ///
                                                                                                              39
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 40 of 69



                                                              1          122. As a result, Defendants willfully required Plaintiff and the other class
                                                              2 members to work during rest periods and failed to pay Plaintiff and the other class
                                                              3 members the full rest period premium for work performed during rest periods. For
                                                              4 example, throughout their employment with Defendants, although Plaintiff was not
                                                              5 authorized and permitted to take full, uninterrupted, off-duty rest periods for each
                                                              6 four hours worked, or major fraction thereof, he was not provided with rest period
                                                              7 premium payments.
                                                              8          123. During the relevant time period, Defendants failed to pay Plaintiff and
                                                              9 the other class members the full rest period premium due pursuant to California
                                                             10 Labor Code section 226.7.
                                                             11          124. In addition, when Defendants paid rest period premiums to Plaintiff
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                                                             12 and the other class members, the premiums were paid at Plaintiff’s and the other
                              Glendale, California 91203




                                                             13 class members’ base hourly rate, rather than at their respective regular rates of pay.
                                                             14 Specifically, during the relevant time period, Defendants issued non-discretionary
                                                             15 payments to the other class members (in the forms of non-discretionary bonuses,
                                                             16 shift differential payments, incentives, commissions, service charge payments, and
                                                             17 other forms of non-discretionary payments) that should have been included in
                                                             18 Plaintiff and other class members’ regular rates of pay for purposes of calculating
                                                             19 meal and rest period premiums pursuant to California Labor Code section 226.7.
                                                             20 However, Defendants failed to implement a practice of doing this. Defendants thus
                                                             21 failed to include all non-discretionary incentive payments in the regular rates of
                                                             22 pay for purposes of meal and rest period premiums pursuant to California Labor
                                                             23 Code section 226.7.
                                                             24          125. Despite being aware of the need to adjust the regular rate of pay for
                                                             25 purposes of overtime payments, Defendants did not do so for purposes of
                                                             26 calculating rest period premiums paid to Plaintiff and the other class members.
                                                             27          126. Defendants’ conduct violates applicable IWC Wage Orders and
                                                             28 California Labor Code section 226.7.
                                                                                                              40
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 41 of 69



                                                              1          127. Pursuant to the applicable IWC Wage Orders and California Labor
                                                              2 Code section 226.7(c), Plaintiff and the other class members are entitled to recover
                                                              3 from Defendants one additional hour of pay at the employees’ regular hourly rate
                                                              4 of compensation for each work day that the rest period was not provided.
                                                              5                             FOURTH CAUSE OF ACTION
                                                              6           (Violation of California Labor Code §§ 1194, 1197, and 1197.1)
                                                              7      (Against HV GLOBAL MANAGEMENT CORPORATION and DOES 1
                                                              8                                        through 100)
                                                              9          128. Plaintiff incorporates by reference the allegations contained in
                                                             10 paragraphs 1 through 127, and each and every part thereof with the same force and
                                                             11 effect as though fully set forth herein.
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                                                             12          129. At all relevant times, California Labor Code sections 1194, 1197, and
                              Glendale, California 91203




                                                             13 1197.1 provide that the minimum wage to be paid to employees, and the payment
                                                             14 of a lesser wage than the minimum so fixed is unlawful.
                                                             15          130. During the relevant time period, Defendants’ policies and practices,
                                                             16 including their Employee Handbook, required Plaintiff and the other class
                                                             17 members to park in a specific parking lots designated for employees, and prohibited
                                                             18 them from using the main roads to enter these lots in their vehicles, instead
                                                             19 requiring them to take a detour through a residential area. This detour took up to
                                                             20 four (4) minutes longer than it would have taken employees had they been able to
                                                             21 access the lots through the main road. These lots were a significant distance from
                                                             22 the facilities, requiring Plaintiff and other class members to walk a significant
                                                             23 distance just to reach their place of work. For example, before every shift, Plaintiff
                                                             24 was required to park in the designated employee lot from which it took him
                                                             25 approximately five minutes to reach the time clock that he was required to use.
                                                             26 During this portion of the commute to work, Defendants exercised control over
                                                             27 Plaintiff and the other class members and, thus, were required to compensate
                                                             28 Plaintiff and the other class members for time spent under Defendants’ control.
                                                                                                              41
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 42 of 69



                                                              1          131. During the relevant time period, Plaintiff and the other class members
                                                              2 were required by Defendants to wear uniforms while working. Defendants had a
                                                              3 policy and practice of requiring that Plaintiff and the other class members clock in
                                                              4 for work in clean uniforms daily, requiring them to put their uniforms in the laundry
                                                              5 at Defendants’ facilities. As such, plaintiff and the other class members were forced
                                                              6 to keep their uniforms in their lockers or with the laundry facilities at work and
                                                              7 change into them upon arrival for their scheduled shift before clocking in, and to
                                                              8 change out of their uniforms and bring them to the laundry after clocking out. For
                                                              9 example, at least once a week, Plaintiff had to first walk to the housekeeping
                                                             10 building to pick up his clean uniforms before clocking in for his shift. Further, at
                                                             11 least once a week, Plaintiff had to walk to the housekeeping building to drop off
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                                                             12 his dirty uniforms after clocking out.
                              Glendale, California 91203




                                                             13          132. During the relevant time period, Defendants’ policies, including the
                                                             14 Employee Handbook, required Plaintiff and the other class members to have all
                                                             15 personal belongings put away while working. As such, Plaintiff and the other class
                                                             16 members were required to put their personal belongings away in the lockers
                                                             17 assigned to them by Defendants at Defendants’ facilities upon arrival for their
                                                             18 scheduled shifts before clocking in, and to go to their designated lockers and take
                                                             19 out their personal belongings after clocking out.
                                                             20          133. During the relevant time period, Defendants’ uniform policies and
                                                             21 practices, including the Employee Handbook, required all employees be in full
                                                             22 uniform and ready to begin work prior to clocking in for their shifts, and requiring
                                                             23 all employees to clock out immediately after their scheduled shift was complete.
                                                             24 As a result, during the relevant time period, Plaintiff and the other class members
                                                             25 were required to pick up their uniforms from the laundry, go to their lockers to
                                                             26 change, and to store their personal belongings before they were allowed to clock
                                                             27 in for their scheduled shifts. Additionally, as a result of this policy and practice,
                                                             28 Plaintiff and the other class members were required to clock out before closing out
                                                                                                              42
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 43 of 69



                                                              1 their tables, calculating tips, going to their designated lockers to change out of their
                                                              2 uniforms and collect their personal belongings, and dropping their dirty uniforms
                                                              3 off at the laundry. Specifically, before every shift, Plaintiff was required to travel
                                                              4 on company approved routes to the employee parking lot; walk to the building
                                                              5 where the lockers were located; walk downstairs to his designated employee
                                                              6 locker; change into his uniform shirt, pants, and apron; put away his phone, keys,
                                                              7 and wallet; and walk back upstairs to the time clock before clocking in. Further,
                                                              8 after every shift, Plaintiff was required to clock out before walking downstairs to
                                                              9 his designated employee locker; changing out of his uniform shirt, pants, and
                                                             10 apron; retrieving his phone, keys, and wallet; and walking back upstairs to exit the
                                                             11 building and travel to the employee parking lot and through company approved
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                                                             12 routes after clocking out.
                              Glendale, California 91203




                                                             13          134. During the relevant time period, Defendants’ policies and practices,
                                                             14 including their Employee Performance Reviews, required employees to ensure
                                                             15 guests enjoy a leisurely conclusion to their meals. As a result of these policies and
                                                             16 practices, Plaintiff and the other class members were required to continue working
                                                             17 as long as necessary until all guests were finished dining and closing procedures
                                                             18 had been completed. Specifically, Plaintiff was regularly scheduled to work shifts
                                                             19 beginning anywhere from 1:00 p.m. to 4:30 p.m. and required to continue working
                                                             20 until 11:00 p.m. or later.
                                                             21          135. During the relevant time period, Defendants’ policies and practices,
                                                             22 including their Employee Performance Reviews and Employee Handbook,
                                                             23 required employees to prioritize rendering quick and efficient service to all resort
                                                             24 guests. Due to these policies and practices, Plaintiff and the other class members
                                                             25 were regularly approached by managers while clocked out for their meal breaks
                                                             26 and required to provide immediate service to guests while off the clock. For
                                                             27 example, at least twice a week while clocked out for his meal break in the employee
                                                             28 break room, Plaintiff was approached by superiors and told that a party had just
                                                                                                              43
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 44 of 69



                                                              1 finished eating one course of their meal and that he was required to clear their
                                                              2 plates immediately to prepare for their next course. Further, at least once a week
                                                              3 while clocked out for his meal break in the employee break room, Plaintiff was
                                                              4 approached by superiors and told that he needed to complete additional set up
                                                              5 immediately. On these occasions, Plaintiff was instructed to address these issues
                                                              6 immediately and to remain clocked out while doing so.
                                                              7          136. As a result of Defendants’ policies and practices, during the relevant
                                                              8 time period, Plaintiff and the other class members were required to work off-the-
                                                              9 clock prior to clocking in on a weekly basis, including accessing employee parking
                                                             10 lots through a specific, longer route; walking significant distances from the
                                                             11 employee parking lots to reach their places of work; picking up uniforms from the
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                                                             12 laundry; traveling to their designated employee lockers and putting on uniforms
                              Glendale, California 91203




                                                             13 and/or putting away personal belongings to become “work ready”; providing
                                                             14 immediate service to dining guests, setting up the banquet room before being given
                                                             15 the opportunity to clock in for shifts; cleaning up and taking linens out to the linen
                                                             16 closet, calculating tips, and completing paperwork and required reports at after
                                                             17 clocking out at the end of their shifts.
                                                             18          137. As a result of Defendants’ policies and practices, during the relevant
                                                             19 time period, Plaintiff and the other class members were required to work off-the-
                                                             20 clock after clocking out on a weekly basis, including leaving the employee parking
                                                             21 lots through a specific, longer route; walking significant distances to the employee
                                                             22 parking lots; taking off uniforms; collecting personal belongings from lockers;
                                                             23 taking uniforms to the laundry; calculating tips; and closing out tables.
                                                             24          138.   For example, at least once a week, Plaintiff was required to be “work
                                                             25 ready” and clocked in by 3:00 p.m. This required Plaintiff to get to Defendants’
                                                             26 facilities by 2:45 p.m., as, upon arriving, he was required to drive past the resort
                                                             27 onto a detour through a small, windy, residential street in order to reach the
                                                             28 designated employee parking lot where he was required to park. Once parked in
                                                                                                              44
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 45 of 69



                                                              1 the lot, he was required to walk to the housekeeping building to pick up his
                                                              2 uniform, walk to the building that housed his designated employee locker, travel
                                                              3 downstairs to the locker room, change into his uniform shirt, pants, and apron that
                                                              4 he was required to wear as a server, and store his phone, wallet, and other personal
                                                              5 belongings inside of his designated employee locker. After this, Plaintiff would go
                                                              6 back upstairs and clock in, and begin various set-up tasks, such as setting up large
                                                              7 tables, cleaning up surrounding areas, and polishing silverware and glassware. As
                                                              8 soon as he finished setting up, he was required to wait for guests to arrive and be
                                                              9 ready to greet them. Plaintiff would not be permitted to begin cleaning up until all
                                                             10 guests were done dining and the dining room was empty, which did not happen
                                                             11 until approximately 10:30 p.m. Once guests were finished dining and the dining
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                                                             12 room was empty, Plaintiff cleaned up, which included clearing off tables, bussing
                              Glendale, California 91203




                                                             13 all dishware and silverware, taking all linens off the tables and putting them in the
                                                             14 linen bags, wiping down tables, breaking down tables, putting tables and chairs
                                                             15 back in their designated areas, and taking out the garbage. Plaintiff was also
                                                             16 required to calculate and report his tips in order to close out his tables before
                                                             17 leaving and was told by management to clock out before doing this. After clocking
                                                             18 out and closing out his tables, Plaintiff was then required to go back to the locker
                                                             19 room, put his uniform in the laundry, collect his personal belongings, walk back to
                                                             20 the employee parking lot, and exit the lot through the same residential street from
                                                             21 which he was required to enter the lot each day. As a result, Plaintiff performed
                                                             22 work off the clock for which he was not compensated.
                                                             23          139. During the relevant time period, Defendants failed to pay minimum
                                                             24 wage to Plaintiff and the other class members as required, pursuant to California
                                                             25 Labor Code sections 1194, 1197, and 1197.1. Defendants’ failure to pay minimum
                                                             26 wages included, inter alia, Defendants’ effective payment of zero dollars per hour
                                                             27 for hours Plaintiff and the other class members worked off-the-clock performing
                                                             28 work duties, including, but not limited to, accessing and leaving employee parking
                                                                                                              45
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 46 of 69



                                                              1 lots through a specific, longer route; walking significant distances from the
                                                              2 employee parking lots to reach their places of work and back; traveling to their
                                                              3 designated employee lockers and putting on uniforms and/or putting away personal
                                                              4 belongings to become “work ready”;              traveling to their designated employee
                                                              5 lockers, collecting personal belongings, taking off uniforms; dropping off and
                                                              6 picking up uniforms from the laundry; calculating tips; closing out tables; and
                                                              7 providing immediate service to guests.
                                                              8          140. During the relevant time period, Defendants required Plaintiff and the
                                                              9 other class members to report to work without putting them to work and paying
                                                             10 them the requisite reporting time pay. Namely, during the relevant time period,
                                                             11 Defendants failed to pay Plaintiff and other class members half the usual or
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                                                             12 scheduled day’s work in an amount no less than two (2) hours at the employees’
                              Glendale, California 91203




                                                             13 regular rates of pay for workdays in which Plaintiff and the other class members
                                                             14 reported to work and were furnished less than half the usual or scheduled day’s
                                                             15 work, and Defendants failed to pay Plaintiff and other class members for two (2)
                                                             16 hours at the employees’ regular rates of pay on days in which Plaintiff and other
                                                             17 class members were required to report for work a second time in one workday and
                                                             18 were furnished less than two (2) hours of work upon the second reporting.
                                                             19 Specifically, Defendants maintained a uniform policy requiring Plaintiff and the
                                                             20 other class members to call-in and/or be available to receive calls two (2) hours
                                                             21 prior to the start of their scheduled shift to find out whether or not they would be
                                                             22 coming in to work their scheduled shift that day and did not pay the requisite
                                                             23 reporting time pay at the regular rate of pay on days when Plaintiff and the other
                                                             24 class members called in and were not put to work.
                                                             25          141. Defendants’ failure to pay Plaintiff and the other class members the
                                                             26 minimum wage as required violates California Labor Code sections 1194, 1197,
                                                             27 and 1197.1. Pursuant to those sections Plaintiff and the other class members are
                                                             28 entitled to recover the unpaid balance of their minimum wage compensation as well
                                                                                                              46
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 47 of 69



                                                              1 as interest, costs, and attorney’s fees, and liquidated damages in an amount equal
                                                              2 to the wages unlawfully unpaid and interest thereon.
                                                              3          142. Pursuant to California Labor Code section 1197.1, Plaintiff and the
                                                              4 other class members are entitled to recover a penalty of $100.00 for the initial
                                                              5 failure to timely pay each employee minimum wages, and $250.00 for each
                                                              6 subsequent failure to pay each employee minimum wages.
                                                              7          143. Pursuant to California Labor Code section 1194.2, Plaintiff and the
                                                              8 other class members are entitled to recover liquidated damages in an amount equal
                                                              9 to the wages unlawfully unpaid and interest thereon.
                                                             10                               FIFTH CAUSE OF ACTION
                                                             11                 (Violation of California Labor Code §§ 201 and 202)
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                                                             12      (Against HV GLOBAL MANAGEMENT CORPORATION and DOES 1
                              Glendale, California 91203




                                                             13                                        through 100)
                                                             14          144. Plaintiff incorporates by reference the allegations contained in
                                                             15 paragraphs 1 through 143, and each and every part thereof with the same force and
                                                             16 effect as though fully set forth herein.
                                                             17          145. At all relevant times herein set forth, California Labor Code sections
                                                             18 201 and 202 provide that if an employer discharges an employee, the wages earned
                                                             19 and unpaid at the time of discharge are due and payable immediately, and if an
                                                             20 employee quits his or her employment, his or her wages shall become due and
                                                             21 payable not later than seventy-two (72) hours thereafter, unless the employee has
                                                             22 given seventy-two (72) hours’ notice of his or her intention to quit, in which case
                                                             23 the employee is entitled to his or her wages at the time of quitting.
                                                             24          146. During the relevant time period, Defendants intentionally and
                                                             25 willfully failed to pay Plaintiff and the other class members who were discharged
                                                             26 their wages, earned and unpaid, immediately at the time of their discharge. Plaintiff
                                                             27 was not paid at the time of his discharge wages earned and unpaid throughout his
                                                             28 employment, including but not limited to, minimum wages for time worked off-
                                                                                                              47
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 48 of 69



                                                              1 the-clock to perform work duties including donning and doffing, responding to
                                                              2 business-related inquiries, and completing time-sensitive company deadlines and
                                                              3 for meal and rest period premium payments.
                                                              4          147. Plaintiff was not paid at the time of his separation all wages earned
                                                              5 and unpaid throughout his employment, including but not limited to, minimum
                                                              6 wages and overtime wages for time worked off-the-clock and meal and rest period
                                                              7 premium payments for short, late, interrupted, and/or missed meal and rest periods.
                                                              8          148. During the relevant time period, Defendants intentionally and
                                                              9 willfully failed to pay other class members who quit their employment with
                                                             10 Defendants with less than seventy-two (72) hours’ notice their wages, earned and
                                                             11 unpaid, within seventy-two (72) hours of their leaving Defendants’ employ. Other
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                                                             12 class members were not given at the time of leaving Defendants’ employ all of the
                              Glendale, California 91203




                                                             13 wages earned and unpaid throughout their employment, including but not limited
                                                             14 to, overtime and minimum wages for time worked off-the-clock performing work
                                                             15 duties, including, but not limited to, setting up the banquet room before being given
                                                             16 the opportunity to clock in for shifts; accessing and leaving employee parking lots
                                                             17 through a specific, longer route; walking significant distances from the employee
                                                             18 parking lots to reach their places of work and back; cleaning up and taking linens
                                                             19 out to the linen closet; traveling to their designated employee lockers and putting
                                                             20 on uniforms and/or putting away personal belongings to become “work ready”;
                                                             21 traveling to their designated employee lockers, collecting personal belongings,
                                                             22 taking off uniforms; dropping off and picking up uniforms from the laundry;
                                                             23 calculating tips; completing paperwork and required reports at after clocking out at
                                                             24 the end of their shifts; closing out tables; and providing immediate service to guests;
                                                             25 unpaid or incomplete meal and rest period premiums for meal and rest periods that
                                                             26 were short, late, interrupted, and/or missed at the direction of Defendants; and
                                                             27 unpaid reporting time pay due to Defendants’ call-in policy.
                                                             28 ///
                                                                                                              48
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 49 of 69



                                                              1          149. Defendants’ failure to pay Plaintiff and the other class members who
                                                              2 are no longer employed by Defendants’ their wages, earned and unpaid, within
                                                              3 seventy-two (72) hours of their leaving Defendants’ employ, is in violation of
                                                              4 California Labor Code sections 201 and 202.
                                                              5          150. California Labor Code section 203 provides that if an employer
                                                              6 willfully fails to pay wages owed, in accordance with sections 201 and 202, then
                                                              7 the wages of the employee shall continue as a penalty from the due date thereof at
                                                              8 the same rate until paid or until an action is commenced; but the wages shall not
                                                              9 continue for more than thirty (30) days.
                                                             10          151. Plaintiff and the other class members are entitled to recover from
                                                             11 Defendants the statutory penalty wages for each day they were not paid, up to a
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                                                             12 thirty (30) day maximum pursuant to California Labor Code section 203.
                              Glendale, California 91203




                                                             13                               SIXTH CAUSE OF ACTION
                                                             14                       (Violation of California Labor Code § 204)
                                                             15      (Against HV GLOBAL MANAGEMENT CORPORATION and DOES 1
                                                             16                                        through 100)
                                                             17          152. Plaintiff incorporates by reference the allegations contained in
                                                             18 paragraphs 1 through 151, and each and every part thereof with the same force
                                                             19 and effect as though fully set forth herein.
                                                             20          153. At all times herein set forth, California Labor Code section 204
                                                             21 provides that all wages earned by any person in any employment between the 1st
                                                             22 and 15th days, inclusive, of any calendar month, other than those wages due upon
                                                             23 termination of an employee, are due and payable between the 16th and the 26th
                                                             24 day of the month during which the labor was performed.
                                                             25          154. At all times herein set forth, California Labor Code section 204
                                                             26 provides that all wages earned by any person in any employment between the
                                                             27 16th and the last day, inclusive, of any calendar month, other than those wages
                                                             28 due upon termination of an employee, are due and payable between the 1st and
                                                                                                              49
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 50 of 69



                                                              1 the 10th day of the following month.
                                                              2          155. At all times herein set forth, California Labor Code section 204
                                                              3 provides that all wages earned for labor in excess of the normal work period shall
                                                              4 be paid no later than the payday for the next regular payroll period.
                                                              5          156. During the relevant time period, Defendants intentionally and
                                                              6 willfully failed to pay Plaintiff and the other class members all wages due to
                                                              7 them, within any time period permissible under California Labor Code section
                                                              8 204.
                                                              9          157. Plaintiff and the other class members are entitled to recover all
                                                             10 remedies available for violations of California Labor Code section 204.
                                                             11                            SEVENTH CAUSE OF ACTION
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                                                             12                     (Violation of California Labor Code § 226(a))
                              Glendale, California 91203




                                                             13      (Against HV GLOBAL MANAGEMENT CORPORATION and DOES 1
                                                             14                                        through 100)
                                                             15          158. Plaintiff incorporates by reference the allegations contained in
                                                             16 paragraphs 1 through 157, and each and every part thereof with the same force and
                                                             17 effect as though fully set forth herein.
                                                             18          159. At all material times set forth herein, California Labor Code section
                                                             19 226(a) provides that every employer shall furnish each of his or her employees an
                                                             20 accurate itemized statement in writing showing (1) gross wages earned, (2) total
                                                             21 hours worked by the employee, (3) the number of piece-rate units earned and any
                                                             22 applicable piece rate if the employee is paid on a piece-rate basis, (4) all
                                                             23 deductions, provided that all deductions made on written orders of the employee
                                                             24 may be aggregated and shown as one item, (5) net wages earned, (6) the inclusive
                                                             25 dates of the period for which the employee is paid, (7) the name of the employee
                                                             26 and his or her social security number, (8) the name and address of the legal entity
                                                             27 that is the employer, and (9) all applicable hourly rates in effect during the pay
                                                             28 period and the corresponding number of hours worked at each hourly rate by the
                                                                                                              50
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 51 of 69



                                                              1 employee. The deductions made from payments of wages shall be recorded in ink
                                                              2 or other indelible form, properly dated, showing the month, day, and year, and a
                                                              3 copy of the statement or a record of the deductions shall be kept on file by the
                                                              4 employer for at least three years at the place of employment or at a central location
                                                              5 within the State of California.
                                                              6          160. Defendants have intentionally and willfully failed to provide Plaintiff
                                                              7 and the other class members with complete and accurate wage statements. The
                                                              8 deficiencies include but are not limited to: the failure to include the accurate total
                                                              9 number of hours worked by Plaintiff and the other class members and the gross and
                                                             10 net wages actually earned.          As the employer willfully requiring work to be
                                                             11 performed off-the-clock and failing to provide, authorize, and/or permit meal and
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                                                             12 rest periods or to pay the premium wages owed for such failure, Defendants had
                              Glendale, California 91203




                                                             13 the information necessary to provide wage statements that accurately reflected the
                                                             14 total number of hours actually worked and the actual gross and net wages that were
                                                             15 earned, yet failed to do so on a systematic basis and instead provided wage
                                                             16 statements that did not reflect the time worked off-the-clock or any meal and/or
                                                             17 rest period premiums earned.
                                                             18          161. As a result of Defendants’ violation of California Labor Code section
                                                             19 226(a), Plaintiff and the other class members have suffered injury and damage to
                                                             20 their statutorily protected rights. Because Plaintiff and the other class members’
                                                             21 wage statements did not reflect the accurate number of regular hours worked,
                                                             22 Plaintiff and the other class members were unable to determine the total amount of
                                                             23 hours they worked, were unable to determine the total amount of compensation
                                                             24 they were owed and were unable to verify they were paid the proper amount. In
                                                             25 order to determine how much Plaintiff and the other class members should have
                                                             26 been paid, Plaintiff and the other class members would have had to engage in
                                                             27 discovery and mathematical computations in order to reconstruct the missing
                                                             28 information.
                                                                                                              51
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 52 of 69



                                                              1          162. More specifically, Plaintiff and the other class members have been
                                                              2 injured by Defendants’ intentional and willful violation of California Labor Code
                                                              3 section 226(a) because they were denied both their legal right to receive, and their
                                                              4 protected interest in receiving, accurate and itemized wage statements pursuant to
                                                              5 California Labor Code section 226(a).
                                                              6          163. Plaintiff and the other class members are entitled to recover from
                                                              7 Defendants the greater of their actual damages caused by Defendants’ failure to
                                                              8 comply with California Labor Code section 226(a), or an aggregate penalty not
                                                              9 exceeding four thousand dollars per employee.
                                                             10          164. Plaintiff and the other class members are also entitled to injunctive
                                                             11 relief to ensure compliance with this section, pursuant to California Labor Code
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                                                             12 section 226(h).
                              Glendale, California 91203




                                                             13          165. As a result of Defendants’ violation of California Labor Code section
                                                             14 226(a), Plaintiff and the other class members have suffered injury and damage to
                                                             15 their statutorily protected rights.
                                                             16          166. More specifically, Plaintiff and the other class members have been
                                                             17 injured by Defendants’ intentional and willful violation of California Labor Code
                                                             18 section 226(a) because they were denied both their legal right to receive, and their
                                                             19 protected interest in receiving, accurate and itemized wage statements pursuant to
                                                             20 California Labor Code section 226(a).
                                                             21          167. Plaintiff and the other class members are entitled to recover from
                                                             22 Defendants the greater of their actual damages caused by Defendants’ failure to
                                                             23 comply with California Labor Code section 226(a), or an aggregate penalty not
                                                             24 exceeding four thousand dollars per employee.
                                                             25          168. Plaintiff and the other class members are also entitled to injunctive
                                                             26 relief to ensure compliance with this section, pursuant to California Labor Code
                                                             27 section 226(h).
                                                             28 ///
                                                                                                              52
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 53 of 69



                                                              1                             EIGHTH CAUSE OF ACTION
                                                              2                    (Violation of California Labor Code § 1174(d))
                                                              3       (Against HV GLOBAL MANAGEMENT CORPORATION and DOES 1
                                                              4                                        through 100)
                                                              5          169. Plaintiff incorporates by reference the allegations contained in
                                                              6 paragraphs 1 through 168, and each and every part thereof with the same force
                                                              7 and effect as though fully set forth herein.
                                                              8          170. Pursuant to California Labor Code section 1174(d), an employer
                                                              9 shall keep, at a central location in the state or at the plants or establishments at
                                                             10 which employees are employed, payroll records showing the hours worked daily
                                                             11 by and the wages paid to, and the number of piece-rate units earned by and any
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                                                             12 applicable piece rate paid to, employees employed at the respective plants or
                              Glendale, California 91203




                                                             13 establishments. These records shall be kept in accordance with rules established
                                                             14 for this purpose by the commission, but in any case shall be kept on file for not
                                                             15 less than two years.
                                                             16          171. Defendants have intentionally and willfully failed to keep accurate
                                                             17 and complete payroll records showing the hours worked daily and the wages paid,
                                                             18 to Plaintiff and the other class members.
                                                             19          172. As a result of Defendants’ violation of California Labor Code section
                                                             20 1174(d), Plaintiff and the other class members have suffered injury and damage
                                                             21 to their statutorily protected rights.
                                                             22          173. More specifically, Plaintiff and the other class members have been
                                                             23 injured by Defendants’ intentional and willful violation of California Labor Code
                                                             24 section 1174(d) because they were denied both their legal right and protected
                                                             25 interest, in having available, accurate and complete payroll records pursuant to
                                                             26 California Labor Code section 1174(d).
                                                             27 ///
                                                             28 ///
                                                                                                              53
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 54 of 69



                                                              1                              NINTH CAUSE OF ACTION
                                                              2                (Violation of California Labor Code §§ 2800 and 2802)
                                                              3      (Against HV GLOBAL MANAGEMENT CORPORATION and DOES 1
                                                              4                                        through 100)
                                                              5          174. Plaintiff incorporates by reference the allegations contained in
                                                              6 paragraphs 1 through 173, and each and every part thereof with the same force and
                                                              7 effect as though fully set forth herein.
                                                              8          175. Pursuant to California Labor Code sections 2800 and 2802, an
                                                              9 employer must reimburse its employee for all necessary expenditures incurred by
                                                             10 the employee in direct consequence of the discharge of his or her job duties or in
                                                             11 direct consequence of his or her obedience to the directions of the employer.
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                                                             12          176. Plaintiff and the other class members incurred necessary business-
                              Glendale, California 91203




                                                             13 related expenses and costs throughout the duration of their employment that were
                                                             14 not fully reimbursed by Defendants, including but not limited to purchasing and
                                                             15 maintaining clothing in compliance with Defendants’ dress code and using
                                                             16 personal phones for business-related purposes.
                                                             17          177. During the relevant time period, Defendants maintained a policy and
                                                             18 requiring Plaintiff and the other class members to call-in and/or be available to
                                                             19 receive calls on their personal cell phones two (2) hours prior to the start of their
                                                             20 scheduled shift to find whether they would need to come into work on any given day
                                                             21 or not. Due to this policy, Plaintiff and the other class members were required to
                                                             22 use their personal cell phones almost every day. This was because they were often
                                                             23 on standby, such that Defendants would call Plaintiff and other class members on
                                                             24 their personal cell phones in order to inform them of whether they would need to
                                                             25 come into work on any given day or not. Plaintiff and other class members could
                                                             26 not avoid Defendants’ calls or text messages and were required to stand-by and
                                                             27 respond to Defendants via call or text message. For example, while Plaintiff was
                                                             28 scheduled to work five (5) to six (6) days a week, his schedule was always subject
                                                                                                              54
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 55 of 69



                                                              1 to change up until as little as forty-five (45) minutes before his shift was scheduled
                                                              2 to start, depending on the number of reservations and the number of other servers
                                                              3 who would be working that shift. As such, Plaintiff was required to wait for
                                                              4 Defendants’ call anywhere between two (2) hours and forty-five (45) minutes prior
                                                              5 to his scheduled start time. Often, he did not receive a call and had no choice but to
                                                              6 call in himself. Despite Defendants’ knowledge that their policy required Plaintiff
                                                              7 and the other class members to use their personal cell phones for business-related
                                                              8 purposes on a daily basis, Defendants failed to reimburse Plaintiff and the other class
                                                              9 members for their personal cell phone usage.
                                                             10          178. During the relevant time period, Defendants had a policy of allowing
                                                             11 Plaintiff and other class members to clock-in or clock-out using a program on their
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                                                             12 personal cell phones. Despite this, Defendants did not reimburse Plaintiff and the
                              Glendale, California 91203




                                                             13 other class members for cell phone usage to clock in and out.
                                                             14          179. During the relevant time period, Plaintiff and other class members
                                                             15 were required to purchase and maintain specific clothing in order to comply with
                                                             16 Defendants’ dress code, including but not limited to, non-slip shoes and clothing
                                                             17 of a particular color that could only be used for work purposes.
                                                             18          180. During the relevant time period, Plaintiff and the other class members
                                                             19 were required by Defendants to wear uniforms while working. They were required
                                                             20 to show up ready to work in clean uniforms every day. Defendants only provided
                                                             21 Plaintiff and the other class members with one set of clothing items for their
                                                             22 uniforms but were aware that it was necessary for Plaintiff and the other class
                                                             23 members to buy additional sets of clothing items for their uniforms, as well as items
                                                             24 not provided by Defendants such as non-slip shoes. Defendants told Plaintiff and
                                                             25 the other class members if they purchased additional sets of clothing items and
                                                             26 shoes for their uniforms and submitted their receipts to management, they would
                                                             27 be reimbursed for those items. However, Defendants failed to reimburse the costs
                                                             28 of these items as promised. For example, Plaintiff was required to arrive at the
                                                                                                              55
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 56 of 69



                                                              1 beginning of every shift wearing a black shirt, black tie, black pants, and non-slip
                                                              2 shoes. Defendants provided him one shirt and one apron and told him that if he
                                                              3 needed to buy additional shirts and/or aprons, he could submit his receipts to
                                                              4 management and receive a reimbursement in his next paycheck. Plaintiff was also
                                                              5 told to buy his own pants and shoes for his uniform and submit his receipts for
                                                              6 those items to management to receive a reimbursement in his next paycheck.
                                                              7 During the relevant time period, Plaintiff purchased approximately six (6) shirts
                                                              8 and three (3) pairs of pants and one (1) pair of non-slip shoes and submitted his
                                                              9 receipts to management but was never reimbursed for the costs of those items.
                                                             10          181. Defendants have intentionally and willfully failed to reimburse
                                                             11 Plaintiff and the other class members for all necessary business-related expenses
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                                                             12 and costs.
                              Glendale, California 91203




                                                             13          182. Plaintiff and the other class members are entitled to recover from
                                                             14 Defendants their business-related expenses and costs incurred during the course
                                                             15 and scope of their employment, plus interest accrued from the date on which the
                                                             16 employee incurred the necessary expenditures at the same rate as judgments in civil
                                                             17 actions in the State of California.
                                                             18                              TENTH CAUSE OF ACTION
                                                             19       (Violation of California Business & Professions Code §§ 17200, et seq.)
                                                             20      (Against HV GLOBAL MANAGEMENT CORPORATION, and DOES 1
                                                             21                                        through 100)
                                                             22          183. Plaintiff incorporates by reference the allegations contained in
                                                             23 paragraphs 1 through 182, and each and every part thereof with the same force and
                                                             24 effect as though fully set forth herein.
                                                             25          184. Defendants’ conduct, as alleged herein, has been, and continues to be,
                                                             26 unfair, unlawful, and harmful to Plaintiff, other class members, to the general public,
                                                             27 and Defendants’ competitors. Accordingly, Plaintiff seeks to enforce important
                                                             28 rights affecting the public interest within the meaning of Code of Civil Procedure
                                                                                                              56
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 57 of 69



                                                              1 section 1021.5.
                                                              2          185. Defendants’ activities as alleged herein are violations of California law,
                                                              3 and constitute unlawful business acts and practices in violation of California
                                                              4 Business & Professions Code section 17200, et seq.
                                                              5          186. A violation of California Business & Professions Code section 17200,
                                                              6 et seq. may be predicated on the violation of any state or federal law. In this instant
                                                              7 case, Defendants’ policies and practices of requiring employees, including Plaintiff
                                                              8 and the other class members, to work overtime without paying them proper
                                                              9 compensation violate California Labor Code sections 510 and 1198. Additionally,
                                                             10 Defendants’ policies and practices of requiring employees, including Plaintiff and
                                                             11 the other class members, to work through their meal and rest periods without paying
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                                                             12 them proper compensation violate California Labor Code sections 226.7 and 512(a).
                              Glendale, California 91203




                                                             13 Defendants’ policies and practices of failing to pay minimum wages violate
                                                             14 California Labor Code sections 1194, 1197, and 1197.1. Moreover, Defendants’
                                                             15 policies and practices of failing to timely pay wages to Plaintiff and the other class
                                                             16 members violate California Labor Code sections 201 and 202. Defendants also
                                                             17 violated California Labor Code sections 226(a), 2800 and 2802. Defendants also
                                                             18 failed to properly pay reporting time pay in violation of California Labor Code
                                                             19 section 1198, and the applicable IWC Wage Order(s).
                                                             20          187. As a result of the herein described violations of California law,
                                                             21 Defendants unlawfully gained an unfair advantage over other businesses.
                                                             22          188. Plaintiff and the other class members have been personally injured by
                                                             23 Defendants’ unlawful business acts and practices as alleged herein, including but not
                                                             24 necessarily limited to the loss of money and/or property.
                                                             25          189. Pursuant to California Business & Professions Code sections 17200, et
                                                             26 seq., Plaintiff and the other class members are entitled to restitution of the wages
                                                             27 withheld and retained by Defendants during a period that commences November 3,
                                                             28 2017; an award of attorneys’ fees pursuant to California Code of Civil procedure
                                                                                                              57
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 58 of 69



                                                              1 section 1021.5 and other applicable laws; and an award of costs.
                                                              2          190. Pursuant to California Business & Professions Code section 17208, any
                                                              3 action to enforce a claim under California Business & Professions Code sections
                                                              4 17200, et seq. must be brought within four years after the cause of action accrued.
                                                              5 The statute of limitations for violations of California Labor Code provisions
                                                              6 providing a remedy other than a penalty is three years. Thus, for the period from
                                                              7 November 3, 2017 to November 3, 2018, there is no adequate remedy at law for
                                                              8 Defendants’ violations of the California Labor Code.
                                                              9                            ELEVENTH CAUSE OF ACTION
                                                             10                  (Violation of California Labor Code § 2698, et seq.)
                                                             11      (Against HV GLOBAL MANAGEMENT CORPORATION, and DOES 1
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                                                             12                                        through 100)
                              Glendale, California 91203




                                                             13          191. Plaintiff incorporates by reference the allegations contained in
                                                             14 paragraphs 1 through 9 and 16 through 182, and each and every part thereof with the
                                                             15 same force and effect as though fully set forth herein.
                                                             16          192. Labor Code section 2699(f) provides, in pertinent part: “For all
                                                             17 provisions of this code except those for which a civil penalty is specifically
                                                             18 provided, there is established a civil penalty for a violation of these provisions, as
                                                             19 follows: . . . If, at the time of the alleged violation, the person employs one or more
                                                             20 employees, the civil penalty is one hundred dollars ($100) for each aggrieved
                                                             21 employee per pay period for the initial violation and two hundred dollars ($200)
                                                             22 for each aggrieved employee per pay period for each subsequent violation.”
                                                             23          193. Labor Code section 2699(g)(1) provides, in pertinent part: “[A]n
                                                             24 aggrieved employee may recover the civil penalty described in subdivision (f) in a
                                                             25 civil action . . . filed on behalf of himself or herself and other current or former
                                                             26 employees against whom one or more of the alleged violations was committed.
                                                             27 Any employee who prevails in any action shall be entitled to an award of
                                                             28 reasonable attorney’s fees and costs.”
                                                                                                              58
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF               Document 151            Filed 02/17/24         Page 59 of 69



                                                              1             194. PAGA expressly establishes that any provision of the California Labor
                                                              2 Code which provides for a civil penalty to be assessed and collected by the LWDA,
                                                              3 or any of its departments, divisions, commissions, boards, agencies or employees for
                                                              4 a violation of the California Labor Code, may be recovered through a civil action
                                                              5 brought by an aggrieved employee on behalf of himself or herself, and other current
                                                              6 or former employees.
                                                              7             195. Whenever the LWDA, or any of its departments, divisions,
                                                              8 commissions, boards, agencies, or employees has discretion to assess a civil penalty,
                                                              9 a court in a civil action is authorized to exercise the same discretion, subject to the
                                                             10 same limitations and conditions, to assess a civil penalty.
                                                             11             196. Plaintiff is an aggrieved employee as defined by Labor Code section
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                                                             12 2699(a). Specifically, Plaintiff, a former employee against whom Defendants
                              Glendale, California 91203




                                                             13 committed one or more of the alleged Labor Code violations during the
                                                             14 applicable limitations period, is an aggrieved employee within the meaning of
                                                             15 Labor Code § 2699(c). Plaintiff was employed by Defendants as a non-exempt
                                                             16 hourly employee in California.
                                                             17             197. During the applicable limitations period, Defendants have violated
                                                             18 various provisions of the California Labor Code and applicable IWC Wage
                                                             19 Order(s), including, inter alia, California Labor Code §§ 201, 202, 203, 204, 210,
                                                             20 226, 226.3, 226.7, 510, 512, 551, 552, 558, 558.1, 1174, 1174.5, 1182.12, 1185,
                                                             21 1194, 1194.2, 1197, 1198, 1199, 2698, 2699, et seq., 2800, 2802, and 2802.1, and
                                                             22 the applicable IWC Wage Order(s), for which Plaintiff seeks civil penalties. 1
                                                             23                      a.       For violations of California Labor Code §§ 201, 202, 203,
                                                             24 226.7, 1174, 1194, 1198 and 2802, Plaintiff seeks civil penalties as follows: one
                                                             25 hundred dollars ($100) for each employee per pay period for each initial violation
                                                             26 and two hundred dollars ($200) for each employee per pay period for each
                                                             27
                                                                   1
                                                                    Plaintiff hereby reserves the right to seek penalties on behalf of all Aggrieved Employees, for Defendants’ violations
                                                             28    of the applicable provisions of the Labor Code, suffered by Aggrieved Employees, but not directly suffered by Plaintiff
                                                                   under Huff v. Securitas Security Services USA, Inc., 23 Cal.App.5th 745 (2018).
                                                                                                                             59
                                                                        FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                        ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 60 of 69



                                                              1 subsequent violation (penalties set by Labor Code § 2699(f)(2));
                                                              2                b.     For violations of California Labor Code § 203, Plaintiff seeks
                                                              3 civil penalties as follows: a penalty in an amount not exceeding thirty (30) days’
                                                              4 pay as waiting time (penalties set by Labor Code § 256);
                                                              5                c.     For violations of California Labor Code § 204, Plaintiff seeks
                                                              6 civil penalties as follows: one hundred dollars ($100) for each employee for each
                                                              7 initial violation that was neither willful nor intentional, two hundred dollars
                                                              8 ($200) for each employee, plus 25% of the amount unlawfully withheld from
                                                              9 each employee, for each initial violation that was either willful or intentional, and
                                                             10 two hundred dollars ($200) for each employee, plus twenty-five percent (25%) of
                                                             11 the amount unlawfully withheld from each employee, for each subsequent
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                                                             12 violation, regardless of whether the subsequent violation was either willful or
                              Glendale, California 91203




                                                             13                d.     For violations of California Labor Code § 226(a), if this action
                                                             14 is deemed to be an initial citation, Plaintiff seeks civil penalties as follows: two
                                                             15 hundred and fifty dollars ($250) for each employee for each violation.
                                                             16 Alternatively, if an initial citation or its equivalent occurred before the filing of
                                                             17 this action, one thousand dollars ($1,000) for each employee for each violation
                                                             18 (penalties set by Labor Code § 226.3);
                                                             19                e.     For violation of California Labor Code §§ 510 and 512,
                                                             20 Plaintiff seeks civil penalties as follows: fifty dollars ($50) for each employee for
                                                             21 each initial pay period for which the employee was underpaid, and one hundred
                                                             22 dollars ($100) for each employee for each subsequent pay period for which the
                                                             23 employee was underpaid (penalties set by Labor Code § 558);
                                                             24                f.     For violations of California Labor Code § 1197, Plaintiff seeks
                                                             25 civil penalties as follows: one hundred dollars ($100) for each aggrieved
                                                             26 employee for each initial violation of Labor Code § 1197 that was intentional and
                                                             27 two hundred and fifty dollars ($250) for each aggrieved employee per pay period
                                                             28 for each subsequent violation of Labor Code § 1197, regardless of whether the
                                                                                                              60
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 61 of 69



                                                              1 initial violation was intentional (penalties set by Labor Code § 1197.1);
                                                              2                g.      Pursuant to California Labor Code § 2699(g), Plaintiff seeks
                                                              3 an award of reasonable attorneys’ fees and costs in connection with Plaintiff’s
                                                              4 claims for civil penalties.
                                                              5          198. Plaintiff, on behalf of himself and all other aggrieved employees,
                                                              6 requests civil penalties against Defendants for violations of the Labor Code, as
                                                              7 provided under Labor Code section 2699(f), plus reasonable attorneys’ fees and
                                                              8 costs, as provided under California Labor Code sections 210, 218.5 and 2699(g),
                                                              9 in amounts to be proven at trial.
                                                             10                                  Failure to Pay Overtime
                                                             11          199. Defendants’ failure to pay legally required overtime wages to Plaintiff
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                                                             12 and the other aggrieved employees is in violation of the Wage Orders and California
                              Glendale, California 91203




                                                             13 Labor Code sections 510 and 1198.
                                                             14                             Failure to Provide Meal Periods
                                                             15          200. Defendants’ failure to provide legally required meal periods to
                                                             16 Plaintiff and the other aggrieved employees is in violation of the Wage Orders and
                                                             17 California Labor Code sections 226.7 and 512(a).
                                                             18                             Failure to Provide Rest Periods
                                                             19          201. Defendants’ failure to provide legally required rest periods to Plaintiff
                                                             20 and the other aggrieved employees is in violation of the Wage Orders and
                                                             21 California Labor Code section 226.7.
                                                             22                             Failure to Pay Minimum Wages
                                                             23          202. Defendants’ failure to pay legally required wages to Plaintiff and the
                                                             24 other aggrieved employees is in violation of the Wage Orders and California Labor
                                                             25 Code sections 1194, 1197, 1197.1, and 1198.
                                                             26                     Failure to Timely Pay Wages Upon Termination
                                                             27          203. Defendants’ failure to timely pay wages to Plaintiff and the other
                                                             28 aggrieved employees upon termination is in violation of California Labor Code
                                                                                                              61
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 62 of 69



                                                              1 sections 201 and 202.
                                                              2                  Failure to Timely Pay Wages During Employment
                                                              3          204. Defendants’ failure to timely pay wages to Plaintiff and the other
                                                              4 aggrieved employees during employment is in violation of California Labor Code
                                                              5 section 204.
                                                              6            Failure to Provide Complete and Accurate Wage Statements
                                                              7          205. Defendants’ failure to provide complete and accurate wage statements
                                                              8 to Plaintiff and the other aggrieved employees is in violation of California Labor
                                                              9 Code section 226(a).
                                                             10                            Failure to Pay Reporting Time Pay
                                                             11          206. Defendants’ failure to pay reporting time pay to Plaintiff and the other
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                                                             12 aggrieved employees is in violation of the Wage Orders and California Labor Code
                              Glendale, California 91203




                                                             13 section 1198.
                                                             14       Failure to Reimburse Necessary Business-Related Expenses and Costs
                                                             15          207. Defendants’ failure to reimburse Plaintiff and the other aggrieved
                                                             16 employees for necessary business-related expenses and costs is in violation of
                                                             17 California Labor Code sections 2800 and 2802.
                                                             18          208. Pursuant to California Labor Code section 2699(i), civil penalties
                                                             19 recovered by aggrieved employees shall be distributed as follows: seventy-five
                                                             20 percent (75%) to the LWDA for the enforcement of labor laws and education of
                                                             21 employers and employees about their rights and responsibilities and twenty-five
                                                             22 percent (25%) to the aggrieved employees.
                                                             23                              DEMAND FOR JURY TRIAL
                                                             24          Plaintiff, individually, and on behalf of other members of the general
                                                             25 public similarly situated, and on behalf of other aggrieved employees pursuant to
                                                             26 the California Private Attorneys General Act, requests a trial by jury.
                                                             27 ///
                                                             28 ///
                                                                                                              62
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 63 of 69



                                                              1                                  PRAYER FOR RELIEF
                                                              2          WHEREFORE, Plaintiff, individually, and on behalf of other members of
                                                              3 the general public similarly situated, and on behalf of other aggrieved employees
                                                              4 pursuant to the California Private Attorneys General Act, prays for relief and
                                                              5 judgment against Defendants, jointly and severally, as follows:
                                                              6                                     Class Certification
                                                              7          1.    That this action be certified as a class action;
                                                              8          2.    That Plaintiff be appointed as the representative of the Class;
                                                              9          3.    That counsel for Plaintiff be appointed as Class Counsel; and
                                                             10          4.    That Defendants provide to Class Counsel immediately the names
                                                             11 and most current/last known contact information (address, e-mail, and telephone
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                                                             12 numbers) of all class members.
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                                                             13                              As to the First Cause of Action
                                                             14          5.    That the Court declare, adjudge, and decree that Defendants violated
                                                             15 California Labor Code sections 510 and 1198 and applicable IWC Wage Orders
                                                             16 by willfully failing to pay all overtime wages due to Plaintiff and the other class
                                                             17 members;
                                                             18          6.    For general unpaid wages at overtime wage rates and such general
                                                             19 and special damages as may be appropriate;
                                                             20          7.    For pre-judgment interest on any unpaid overtime compensation
                                                             21 commencing from the date such amounts were due;
                                                             22          8.    For reasonable attorneys’ fees and costs of suit incurred herein
                                                             23 pursuant to California Labor Code section 1194; and
                                                             24          9.    For such other and further relief as the Court may deem just and
                                                             25 proper.
                                                             26                            As to the Second Cause of Action
                                                             27          10.   That the Court declare, adjudge, and decree that Defendants violated
                                                             28 California Labor Code sections 226.7 and 512 and applicable IWC Wage Orders
                                                                                                              63
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 64 of 69



                                                              1 by willfully failing to provide all meal periods (including second meal periods) to
                                                              2 Plaintiff and the other class members;
                                                              3          11.   That the Court make an award to Plaintiff and the other class
                                                              4 members of one (1) hour of pay at each employee’s regular rate of compensation
                                                              5 for each workday that a meal period was not provided;
                                                              6          12.   For all actual, consequential, and incidental losses and damages,
                                                              7 according to proof;
                                                              8          13.   For premium wages pursuant to California Labor Code section
                                                              9 226.7(c);
                                                             10          14.   For pre-judgment interest on any unpaid wages from the date such
                                                             11 amounts were due;
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                                                             12          15.   For reasonable attorneys’ fees and costs of suit incurred herein; and
                              Glendale, California 91203




                                                             13          16.   For such other and further relief as the Court may deem just and
                                                             14 proper.
                                                             15                             As to the Third Cause of Action
                                                             16          17.   That the Court declare, adjudge, and decree that Defendants violated
                                                             17 California Labor Code section 226.7 and applicable IWC Wage Orders by
                                                             18 willfully failing to provide all rest periods to Plaintiff and the other class
                                                             19 members;
                                                             20          18.   That the Court make an award to Plaintiff and the other class
                                                             21 members of one (1) hour of pay at each employee’s regular rate of compensation
                                                             22 for each workday that a rest period was not provided;
                                                             23          19.   For all actual, consequential, and incidental losses and damages,
                                                             24 according to proof;
                                                             25          20.   For premium wages pursuant to California Labor Code section
                                                             26 226.7(c);
                                                             27          21.   For pre-judgment interest on any unpaid wages from the date such
                                                             28 amounts were due; and
                                                                                                              64
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 65 of 69



                                                              1          22.   For such other and further relief as the Court may deem just and
                                                              2 proper.
                                                              3                             As to the Fourth Cause of Action
                                                              4          23.   That the Court declare, adjudge, and decree that Defendants violated
                                                              5 California Labor Code sections 1194, 1197, and 1197.1 by willfully failing to pay
                                                              6 minimum wages to Plaintiff and the other class members;
                                                              7          24.   For general unpaid wages and such general and special damages as
                                                              8 may be appropriate;
                                                              9          25.   For statutory wage penalties pursuant to California Labor Code
                                                             10 section 1197.1 for Plaintiff and the other class members in the amount as may be
                                                             11 established according to proof at trial;
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                                                             12          26.   For pre-judgment interest on any unpaid compensation from the date
                              Glendale, California 91203




                                                             13 such amounts were due;
                                                             14          27.   For reasonable attorneys’ fees and costs of suit incurred herein
                                                             15 pursuant to California Labor Code section 1194(a);
                                                             16          28.   For liquidated damages pursuant to California Labor Code section
                                                             17 1194.2; and
                                                             18          29.   For such other and further relief as the Court may deem just and
                                                             19 proper.
                                                             20                              As to the Fifth Cause of Action
                                                             21          30.   That the Court declare, adjudge, and decree that Defendants violated
                                                             22 California Labor Code sections 201, 202, and 203 by willfully failing to pay all
                                                             23 compensation owed at the time of termination of the employment of Plaintiff and
                                                             24 the other class members no longer employed by Defendants;
                                                             25          31.   For all actual, consequential, and incidental losses and damages,
                                                             26 according to proof;
                                                             27          32.   For statutory wage penalties pursuant to California Labor Code
                                                             28 section 203 for Plaintiff and the other class members who have left Defendants’
                                                                                                              65
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 66 of 69



                                                              1 employ;
                                                              2          33.   For pre-judgment interest on any unpaid compensation from the date
                                                              3 such amounts were due; and
                                                              4          34.   For such other and further relief as the Court may deem just and
                                                              5 proper.
                                                              6                              As to the Sixth Cause of Action
                                                              7          35.   That the Court declare, adjudge and decree that Defendants violated
                                                              8 California Labor Code section 204 by willfully failing to pay all compensation
                                                              9 owed at the time required by California Labor Code section 204 to Plaintiff and
                                                             10 the other class members;
                                                             11          36.   For all actual, consequential, and incidental losses and damages,
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                                                             12 according to proof;
                              Glendale, California 91203




                                                             13          37.   For pre-judgment interest on any unpaid compensation from the date
                                                             14 such amounts were due; and
                                                             15          38.   For such other and further relief as the Court may deem just and
                                                             16 proper.
                                                             17                            As to the Seventh Cause of Action
                                                             18          39.   That the Court declare, adjudge and decree that Defendants violated
                                                             19 the record keeping provisions of California Labor Code section 226(a) and
                                                             20 applicable IWC Wage Orders as to Plaintiff and the other class members, and
                                                             21 willfully failed to provide accurate itemized wage statements thereto;
                                                             22          40.   For actual, consequential and incidental losses and damages,
                                                             23 according to proof;
                                                             24          41.   For statutory penalties pursuant to California Labor Code section
                                                             25 226(e);
                                                             26          42.   For injunctive relief to ensure compliance with this section, pursuant
                                                             27 to California Labor Code section 226(h); and
                                                             28          43.   For such other and further relief as the Court may deem just and
                                                                                                              66
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 67 of 69



                                                              1 proper.
                                                              2                             As to the Eighth Cause of Action
                                                              3          44.   That the Court declare, adjudge and decree that Defendants violated
                                                              4 California Labor Code section 1174(d) by willfully failing to keep accurate and
                                                              5 complete payroll records for Plaintiff and the other class members as required by
                                                              6 California Labor Code section 1174(d);
                                                              7          45.   For actual, consequential and incidental losses and damages,
                                                              8 according to proof;
                                                              9          46.   For statutory penalties pursuant to California Labor Code section
                                                             10 1174.5; and
                                                             11          47.   For such other and further relief as the Court may deem just and
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                                                             12 proper.
                              Glendale, California 91203




                                                             13                              As to the Ninth Cause of Action
                                                             14          48.   That the Court declare, adjudge and decree that Defendants violated
                                                             15 California Labor Code sections 2800 and 2802 by willfully failing to reimburse
                                                             16 Plaintiff and the other class members for all necessary business-related expenses
                                                             17 as required by California Labor Code sections 2800 and 2802;
                                                             18          49.   For actual, consequential and incidental losses and damages,
                                                             19 according to proof;
                                                             20          50.   For the imposition of civil penalties and/or statutory penalties;
                                                             21          51.   For reasonable attorneys’ fees and costs of suit incurred herein; and
                                                             22          52.   For such other and further relief as the Court may deem just and
                                                             23 proper.
                                                             24                             As to the Tenth Cause of Action
                                                             25          53.   That the Court decree, adjudge and decree that Defendants violated
                                                             26 California Business and Professions Code sections 17200, et seq. by failing to
                                                             27 provide Plaintiff and the other class members all overtime compensation due to
                                                             28 them, failing to provide all meal and rest periods to Plaintiff and the other class
                                                                                                              67
                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 68 of 69



                                                              1 members, failing to pay at least minimum wages to Plaintiff and the other class
                                                              2 members, failing to pay Plaintiff’s and the other class members’ wages timely as
                                                              3 required by California Labor Code section 201, 202 and 204, failing to pay
                                                              4 reporting time pay required by California Labor Code section 1198 and the
                                                              5 applicable IWC Wage Order(s), and by violating California Labor Code sections
                                                              6 226(a), 1174(d), 2800 and 2802.
                                                              7          54.   For restitution of unpaid wages to Plaintiff and all the other class
                                                              8 members and all pre-judgment interest from the day such amounts were due and
                                                              9 payable;
                                                             10          55.   For the appointment of a receiver to receive, manage and distribute
                                                             11 any and all funds disgorged from Defendants and determined to have been
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                                                             12 wrongfully acquired by Defendants as a result of violation of California Business
                              Glendale, California 91203




                                                             13 and Professions Code sections 17200, et seq.;
                                                             14          56.   For reasonable attorneys’ fees and costs of suit incurred herein
                                                             15 pursuant to California Code of Civil Procedure section 1021.5;
                                                             16          57.   For injunctive relief to ensure compliance with this section, pursuant
                                                             17 to California Business and Professions Code sections 17200, et seq.; and
                                                             18                            As to the Eleventh Cause of Action
                                                             19          58.   For civil penalties and wages pursuant to California Labor Code
                                                             20 sections 2699(a), (f), and (g), costs/expenses, and attorneys’ fees for violation of
                                                             21 California Labor Code sections 201, 202, 203, 204, 210, 226, 226.3, 226.7, 510,
                                                             22 512, 551, 552, 558, 558.1, 1174, 1174.5, 1182.12, 1185, 1194, 1194.2, 1197,
                                                             23 1198, 1199, 2698, 2699, et seq., 2800, 2802, and 2802.1, and the applicable IWC
                                                             24 Wage Order(s); and
                                                             25          59.   For such other and further relief as the Court may deem equitable and
                                                             26 appropriate.
                                                             27 ///
                                                             28 ///
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                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
                                                                  Case 5:21-cv-09955-BLF     Document 151       Filed 02/17/24    Page 69 of 69



                                                              1
                                                                   Dated: February 16, 2024                          LAWYERS for JUSTICE, PC
                                                              2
                                                              3                                                By:
                                                                                                                     Joanna Ghosh
                                                              4
                                                                                                                     Selena Matavosian
                                                              5                                                      Attorneys for Plaintiff
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                              Glendale, California 91203




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                                                                      FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND ENFORCEMENT UNDER THE PRIVATE
                                                                                      ATTORNEYS GENERAL ACT, CAL. L ABOR CODE §2698 E T SEQ.
